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                ATTACHMENT 7 TO
                DECLARATION OF
               KARLTON T. WATSON
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                                                                                                                                                                                                                     For the investigational use of Adipose Derived
                                                                                                                                                                                                                Stem Cells (ADSC's) for clinical research and deployment.


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                                                      Our Mission                                                                                                                                                                                        Home / About Us / Our Mission




                                                      To advance cell technology in order to improve the                                                                                                                                        USA Candidate Application

                                                      body’s ability to regenerate.                                                                                                                                                             International Candidate Application

                                                      OUR MISSION
                                                                                                                                                                                                                                                Founders
                                                      The a liates of the Cell Surgical Network® (CSN) are devoted to advancing
                                                                                                                                                                                                                                                Cell Banking
                                                      access and quality care in the area of adult stem cell regenerative medicine in
                                                      order to help people suffering from a variety of in ammatory and degenerative
                                                                                                                                                                                                                                                Physicians Interested in Joining
                                                      conditions.
                                                                                                                                                                                                                                                the Network

                                                      OUR STORY
                                                                                                                                                                                                                                                Events
                                                      In 2010, Dr. Mark Berman brought back vital technology from Asia that allowed
                                                                                                                                                                                                                                                Videos
                                                      us to isolate SVF stromal vascular fraction which contains high numbers of
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                                                                                                                                                                                                                                                CSN Publications
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                                                      The Cell Surgical Network® emphasizes quality and is highly committed to clinical research and the advancement of                                                                       Frequently Asked Questions
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                                                                                                                                                                                                                                              What is a stem cell?
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                                                      source of regenerative cells on the same day. The regenerative cells are found in the SVF stromal vascular fraction
                                                                                                                                                                                                                                              More FAQs...
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                                                                                                                                                                                                                                              Stem Cells and the FDA
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                                                                                                                                                                                                                                             Cell Banking

                                                                                                                                                                                                                                             Physicians Interested in Joining
                                                                                               ELLIOT B. LANDER,                               MARK BERMAN,                                                                                  the Network
                                                                                                   MD, FACS                                      MD, FACS
                                                                                                                                                                                                                                             Events

                                                   Welcome to the Stem Cell Revolution. Since 2010, we have been working with autologous (your own) adipose
                                                                                                                                                                                                                                             Videos
                                                   derived stromal vascular fraction (SVF) providing investigational therapy to patients with various in ammatory
                                                   and/or degenerative conditions. Using technology developed in South Korea, we have developed a closed surgical
                                                                                                                                                                                                                                             CSN Publications
                                                   method to isolate this cellular medium (SVF) rich in stem cells.

                                                   Under our IRB (Institutional Review Board) approved protocol, we’ve been providing SVF deployment on an
                                                   investigational basis. Under the banner of the California Stem Cell Treatment Center® (CSCTC), we’ve formed a                                                                           Contact Us
                                                   multidisciplinary team to evaluate patients with a variety of conditions often responsive to cell therapy. We have also
                                                   worked in conjunction with a number of international organizations and physicians of great expertise to help develop                                                                    Learn about the stem cell revolution
                                                   our protocols for procedures and deployments. In 2012, we formed the Cell Surgical Network® (CSN) to provide the                                                                        Contact Us or Make an Appointment
                                                   same high level quality controlled investigational therapy nationwide and beyond.

                                                   This website now, not only provides information about cell surgery, but also lists the a liates of CSN®. You are                                                                        Frequently Asked Questions
                                                   welcome to send your inquiries to any Network A liate you choose knowing that we are all members of the same
                                                   team and providing the same investigational services to all eligible patients.                                                                                                          What is a stem cell?
                                                                                                                                                                                                                                           How do adult stem cells heal?
                                                   The Cell Surgical Network® provides a true team service with open communication and a shared online database to                                                                         How is the fat obtained?
                                                   accumulate the best and most thorough information to help establish optimal protocols for treatments of the
                                                                                                                                                                                                                                           More FAQs...
                                                   multitude of in ammatory and/or degenerative conditions. All a liate members in the CSN® will contribute to our
                                                   IRB approved investigation.
                                                                                                                                                                                                                                           Stem Cells and the FDA

                                                                                                                                                                                                                                           Stem cell treatment is not approved by
                                                                                                                                                                                                                                           the FDA for any speci c disease
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                                                      To advance cell technology in order to improve the                                                                                                                                        USA Candidate Application

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                                                      Deployment Process                                                                                                                                                                        Home / About Us / Deployment Process




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                                                                                                                                                                                                                                              Frequently Asked Questions

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                                                FAQs                                                                                                                                             Home / About Us / FAQs




                                                   Our Technology                                               Can stem cells cause cancer?
                                                   Cell Banking                                                 What about patients with known cancers?                           USA Candidate Application
                                                   NonEmbryonic Adult Stem Cells                                Are there reports of autologous adipose derived
                                                   What is regenerative medicine?                               adult mesenchymal stem cells harming any humans                   International Candidate Application
                                                   What are the tools of regenerative medicine?                 or animals?
                                                   What is a stem cell?                                         What claims are currently made by CSN about what                  Founders
                                                   How do adult stem cells heal?                                stem cell therapy can do for you?
                                                   What diseases and problems can be treated?                   Are any biological agents added to the stem cells                 Cell Banking
                                                   Is our procedure FDA-approved?                               such as medications or mixtures containing Plasma
                                                   Does CSN use any embryonic stem cells?                       Enriched Platelets?                                               Physicians Interested in Joining
                                                   Why does CSN take a multispecialty treatment                 How are the cells deployed into a patient?                        the Network
                                                   approach to regenerative medicine?                           Can I be expected to improve after stem cell
                                                   What types of specialties are represented at CSN?            treatment at CSN?                                                 Events
                                                   Why do patients request stem cell treatment?                 How long does it take to see improvement?
                                                   Once a candidate is selected for treatment, how              Is everyone a candidate?                                          Videos
                                                   does CSN obtain a person’s stem cells?                       Are any patients automatically excluded?
                                                   Why does use liposuction fat rather than bone                Who decides who is eligible?                                      CSN Publications
                                                   marrow as a source of stem cells?                            Does a candidate have to participate in research to
                                                   How is the fat obtained?                                     receive treatment at CSN?
                                                   How does CSN control sterility in the processing of          What are some diseases that CSN is de nitely not
                                                                                                                                                                                 Contact Us
                                                   the stem cells?                                              treating at this time?
                                                   Does CSN use stem cells from any other animal                What are the costs of consultation and treatment?                Learn about the stem cell revolution
                                                   source or person?                                            What does the cost of procedure include?
                                                   Why do some stem cell facilities around the world            How many injections are required for success?                    Contact Us or Make an Appointment
                                                   require days to weeks before removal of                      Where can I get more information on stem cell
                                                   mesenchymal stem cells until reinsertion into the            treatments?
                                                                                                                                                                                 Frequently Asked Questions
                                                   patient?
                                                   Some stem cell treatment centers make                                                                                         What is a stem cell?
                                                   extraordinary claims about their success in the                                                                               How do adult stem cells heal?
                                                   treatment of various problems. Why doesn’t CSN?                                                                               How is the fat obtained?
                                                   Can stem cells treat cancer?
                                                                                                                                                                                 More FAQs...


                                                Our Technology
                                                                                                                                                                                 Stem Cells and the FDA
                                                The Cell Surgical Network uses adipose derived stem cells for deployment & clinical research. Early stem cell
                                                                                                                                                                                 Stem cell treatment is not approved by
                                                research has traditionally been associated with the controversial use of embryonic stem cells. The new focus is on
                                                                                                                                                                                 the FDA for any speci c disease
                                                non-embryonic adult mesenchymal stem cells which are found in a person’s own blood, bone marrow, and fat. Cell
                                                therapy around the world is shifting its focus from bone marrow based cells to adipose (fat) derived cells since the             Click for details…
                                                cells are easy to obtain and generally very robust. Adipose fat is an abundant and reliable source of stem cells. The
                                                best quality adipose cells are derived from the enzymatic digestion of liposuctioned fat which can be performed at
                                                the bedside in an essentially closed system to protect sterility. Autologous stem cells from a person’s own fat are
                                                easy to harvest safely under local anesthesia and are abundant in quantities up to 2500 times those seen in bone
                                                marrow.
                                                Clinical success and favorable outcomes appear to be related directly to the quantity of stem cells deployed. Once
                                                these adipose derived stem cells are administered back in to the patient, they have the potential to repair human
                                                tissue by in uencing healing and also forming new cells of mesenchymal origin, such as cartilage, bone, ligaments,
                                                tendons, nerve, fat, muscle, blood vessels, and certain internal organs. Stem cells’ ability to form cartilage and bone
                                                makes them potentially highly effective in the treatment of degenerative orthopedic conditions. Their ability to form
                                                new blood vessels and other tissues makes them suitable for mitigating a large number of traumatic and
                                                degenerative conditions.
                                                We have anecdotal and experimental evidence that stem cell therapy is effective in healing and regeneration. Stem
                                                cells seek out damaged tissues in order to repair the body naturally. The literature and internet is full of successful
                                                testimonials but we are still awaiting de nitive studies demonstrating e cacy of stem cell therapy. Such data may
                                                take ve or ten years to accumulate. In an effort to provide relief for patients suffering from certain degenerative
                                                diseases that have been resistant to common modalities of treatment, we have initiated pilot studies as
                                                investigational tests of treatment effectiveness with very high numbers of adipose derived stem cells obtained from
                                                fat.
                                                The Cell Surgical Network’s cell harvesting and isolation techniques are based on technology from South Korea. This
                                                technological breakthrough allows patients to safely receive their own autologous stem cells in extremely large
                                                quantities. Our treatments and research are patient funded and we have endeavored successfully to make it
                                                affordable. All of our sterile procedures are non-invasive and done under local anesthesia. Patients who are looking
                                                for non-surgical alternatives to their degenerative disorders can participate in our trials by lling out our treatment
                                                application to determine if they are candidates. The Cell Surgical Network is proud to be state of the art in the new
                                                  eld of Regenerative Medicine. RETURN TO TOP…


                                                Cell Banking


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                                                Cryo-preservation and banking of adipose derived stem cells is possible and can be performed at the same time as
                                                your SVF deployment procedure. Cells On Ice™ is the company that handles this process in collaboration with their
                                                technology partner American CryoStem (ACS). Autologous lipo-aspirate can be frozen as SVF Stromal Vascular
                                                Fraction (contains mesenchymal and hematopoetic stem cells). SVF can be deployed for repeated treatments and
                                                also expanded under IRB approval as part of a safety trial providing vast quantities of autologous stem cells that
                                                could be used throughout that patient’s life. This will provide patients with their own personal stem cell line that
                                                could be used “on demand” for everything from treating stroke, heart attack, serious accident, or even cancer therapy
                                                should the need arise. The Cells On Ice™ program is also vital since many of the conditions we treat such as neuro-
                                                degenerative disorders and auto-immune conditions often require repeat deployments and using banked autologous
                                                cells allows this to be done in a convenient and cost effective manner. For more information on banking your own
                                                cells call 855-204-0302. RETURN TO TOP…


                                                NonEmbryonic Adult Stem Cells
                                                Adult (not from embryonic source) Mesenchymal Stem Cells are undifferentiated cells that have the ability to replace
                                                dying cells and regenerate damaged tissue. These special cells seek out areas of injury, disease and destruction
                                                where they are capable of regenerating healthy cells and enabling a person’s natural healing processes to be
                                                accelerated. As we gain a deeper understanding of their medical function and apply this knowledge, we are realizing
                                                their enormous therapeutic potential to help the body heal itself. Adult stem cells have been used for a variety of
                                                medical treatments to repair and regenerate acute and chronically damaged tissues in humans and animals.
                                                Although adult stem cells are found in many organs, they are very accessible in high numbers from fat. Other
                                                sources of stem cells such as “amniotic” products which are commercially available are not from one’s own body
                                                and these cells are gamma radiated by the manufacturer and therefore are not live cells. If you have been offered
                                                amniotic cells from some source, one should be aware of this fact. The use of stem cells is not FDA approved for the
                                                treatment of any speci c disease in the United States at this time and their use is therefore investigational. Many
                                                reputable international centers have been using stem cell therapy to treat various chronic degenerative conditions as
                                                diverse as severe neurologic diseases, renal failure, erectile dysfunction, degenerative orthopedic problems, and
                                                even cardiac and pulmonary diseases to name a few. Adult stem cells appear to be particularly effective at repairing
                                                cartilage in degenerated joints. RETURN TO TOP…


                                                What is regenerative medicine?
                                                Regenerative Medicine is the process of creating living, functional tissues to repair or replace tissue or organ
                                                function lost due to damage, or congenital defects. This eld holds the promise of regenerating damaged tissues
                                                and organs in the body by stimulating previously irreparable organs to heal themselves. (Wikipedia) RETURN TO
                                                TOP…


                                                What are the tools of regenerative medicine?
                                                Traditionally, we have used various medications and hormones to limit disease and help the body repair itself. For
                                                example, hormone replacement therapy has, in many cases, shown the ability to more optimally help the immune
                                                system and thus help us repair diseased or injured tissues. Genetic research is an evolving area where we will
                                                eventually learn and utilize more ways of speci cally dealing with gene defects causing degenerative disease. Stem
                                                cell therapy has already shown considerable promise in treating many degenerative conditions. Stem cells
                                                communicate with our tissues and with each other through a complex system of protein signaling molecules called
                                                cytokines or “growth factors.” There are thousands of growth factors and some FDA approved and clinically available
                                                such as AQ topical growth factors (see store) that are useful for a number of cosmetic and therapeutic purposes.
                                                The science of using growth factors with stem cells is evolving and represents the next main area of growth in
                                                regenerative medicine. RETURN TO TOP…


                                                What is a stem cell?
                                                A stem cell is basically any cell that can replicate and differentiate. This means the cell can not only multiply, it can
                                                turn into different types of tissues. There are different kinds of stem cells. Most people are familiar with or have
                                                heard the term “embryonic stem cell.” These are cells from the embryonic stage that have yet to differentiate – as
                                                such, they can change into any body part at all. These are then called “pluri-potential” cells. Because they are taken
                                                from unborn or unwanted embryos, there has been considerable controversy surrounding their use. Also, while they
                                                have been used in some areas of medicine – particularly, outside the United States – they have also been associated
                                                with occasional tumor (teratoma) formations. There is work being conducted by several companies to isolate
                                                particular lines of embryonic stem cells for future use.

                                                Another kind of stem cell is the “adult stem cell.” This is a stem cell that already resides in one’s body within different
                                                tissues. In recent times, much work has been done isolating bone-marrow derived stem cells. These are also known
                                                as “mesenchymal stem cells” because they come from the mesodermal section of your body. They can differentiate
                                                into bone and cartilage, and probably all other mesodermal elements, such as fat, connective tissue, blood vessels,
                                                muscle and nerve tissue. Bone marrow stem cells can be extracted and because they are low in numbers, they are
                                                usually cultured in order to multiply their numbers for future use. As it turns out, fat is also loaded with mesenchymal
                                                stem cells. In fact, it has hundreds if not thousands of times more stem cells compared to bone marrow. Today, we
                                                actually have tools that allow us to separate the stem cells from fat. Because most people have adequate fat
                                                supplies and the numbers of stem cells are so great, there is no need to culture the cells over a period of days and
                                                they can be used right away. RETURN TO TOP…


                                                How do adult stem cells heal?
                                                These adult stem cells are known as “progenitor” cells. This means they remain dormant (do nothing) unless they
                                                witness some level of tissue injury. It’s the tissue injury that turns them on. So, when a person has a degenerative
                                                type problem, the stem cells tend to go to that area of need and stimulate the healing process. We’re still not sure if
                                                they simply change into the type of injured tissue needed for repair or if they send out signals that induces the repair
                                                by some other mechanism. Su ce it to say that there are multiple animal models and a plethora of human evidence
                                                that indicates these are signi cant reparative cells. RETURN TO TOP…


                                                What diseases and problems can be treated?
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                                                This will depend on the type of degenerative condition you have. A specialist will evaluate you and discuss whether
                                                you’re a potential candidate for stem cell therapy. If after you’ve been recommended for treatment, had an
                                                opportunity to understand the potential risks and bene ts, and decided on your own that you would like to explore
                                                this avenue of treatment, then you can be considered for treatment. Of course, even though it’s a minimally invasive
                                                procedure, you will still need to be medically cleared for the procedure. RETURN TO TOP…


                                                Is our procedure FDA-approved?
                                                NO. However, the Cell Surgical Network’s surgical procedures fall under the category of physician’s practice of
                                                medicine, wherein the physician and patient are free to consider their chosen course of treatment. The FDA does
                                                have guidelines about treatment and manipulation of a patient’s own tissues. At CSN we meet these guidelines by
                                                providing same day treatment with the patient’s own cells that undergo no manipulation and are inserted during the
                                                same procedure. RETURN TO TOP…


                                                Does CSN use any embryonic stem cells?
                                                No. Only adult mesenchymal stem cells are used. These cells are capable of forming bone, cartilage, fat, muscle,
                                                ligaments, blood vessels, and certain organs. Embryonic stem cells are associated with ethical considerations and
                                                limitations. RETURN TO TOP…


                                                Why does CSN take a multispecialty treatment approach to regenerative
                                                medicine?
                                                Patients suffer from many varieties of degenerative illnesses. There may be conditions associated with nearly all
                                                aspects of the body. Board certi ed specialists are ideal to evaluate, recommend and/or treat, and subsequently
                                                follow your progress. Together, through the CSN, we work to coordinate and provide therapy – mainly with your own
                                                stem cells, but also through other avenues of regenerative medicine. This could include hormone replacement
                                                therapy or other appropriate recommendations.

                                                For example, if you have a knee problem, you would see CSN’s Board Certi ed orthopedic surgeon rather than a
                                                generic “clinic director.” Also, you might be recommended for evaluation for hormone replacement therapy or an
                                                exercise program should such be considered optimal. Nonetheless, we believe stem cell therapy to be the likely
                                                foundation for regenerative treatment.

                                                It should also be noted, that all treatments are currently in the investigational stage. While we recognize our patients
                                                are seeking improvement in their condition through stem cell therapy, each treatment is part of an ongoing
                                                investigation to establish optimal parameters for treatment, to evaluate for effectiveness and for any adverse
                                                effects. It is essential that patients understand they are participating in these investigational (research) analyses.
                                                Once su cient information is appropriately documented and statistically signi cant, then data (validated by an
                                                Institutional Review Board) will be presented to the FDA for consideration of making an actual claim. RETURN TO
                                                TOP…


                                                What types of specialties are represented at CSN?
                                                A wide range of medical specialties is represented including urology, cosmetic surgery, ear, nose, & throat, sports
                                                medicine, functional medicine, orthopedics, internal medicine and cardiology to name a few. Our Network continues
                                                to grow and add experts from various other elds. The Cell Surgical Network is the rst multispecialty stem cell
                                                center in the United States. RETURN TO TOP…


                                                Why do patients request stem cell treatment?
                                                Many have been told that they require surgery or other risky treatments for their ailments and are looking for non-
                                                invasive options. Some have heard about the compelling testimonials about stem cells in the literature and on
                                                various websites. Many have read about the results of stem cell treatments in animal models and in humans. CSN
                                                does not believe in claims or testimonials since our work is still investigational but we are a resource for patients
                                                who need access to regenerative care. CSN gives a choice to those informed patients who seek modern regenerative
                                                therapy but desire convenience, quality and affordability. CSN lls a need for those patients who have been told that
                                                they have to travel to different countries and pay as much as twenty to one hundred thousand dollars for stem cell
                                                treatments off shore. RETURN TO TOP…


                                                Once a candidate is selected for treatment, how does CSN obtain a person’s
                                                stem cells?
                                                Stem cells are harvested and deployed during the same procedure. Our patients undergo a minimally-invasive
                                                liposuction type of harvesting procedure by a surgeon in our specialized treatment facility in a Treatment Center
                                                closest to you. The harvesting procedure generally lasts a few minutes and can be done under local anesthesia. SVF
                                                Stromal Vascular Fraction which contains mesenchymal stem cells and growth factors is then processed from 2
                                                ounces of fat using a closed sterile system to avoid contact with the environment. SVF is ready for deployment
                                                within 90 minutes or less. RETURN TO TOP…


                                                Why does CSN use liposuction fat rather than bone marrow as a source of
                                                stem cells?
                                                Bone marrow sampling (a somewhat uncomfortable procedure) yields approximately 5,000 – 60,000 cells that are
                                                then cultured over several days to perhaps a few million cells prior to deployment (injection into the patient). Recent
                                                advances in stem cell science have made it possible to obtain high numbers of very excellent quality multi-potent
                                                (able to form numerous other tissues) cells from a person’s own liposuction fat. CSN uses technology acquired from
                                                Asia to process this fat to yield approximately ve hundred thousand to one million stem cells per cc of fat, and
                                                therefore, it is possible to obtain as many as 10 to 40 million cells from a single treatment. These adipose derived


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                                                stem cells can form many different types of cells when deployed properly including bone, cartilage, tendon
                                                (connective tissue), muscle, blood vessels, nerve tissue and others. RETURN TO TOP…


                                                How is the fat obtained?
                                                CSN patients have their fat (usually abdominal) harvested in our special sterile harvesting technology under a local
                                                anesthetic. The “mini liposuction” fat removal procedure lasts approximately twenty minutes. Specially designed
                                                equipment is used to harvest the fat cells and less than 100cc of fat is required. Post-operative discomfort is
                                                minimal and there is minimal restriction on activity. RETURN TO TOP…


                                                How does CSN control sterility in the processing of the stem cells?
                                                Stem cells are harvested under sterile conditions using a special “closed system” technology so that the cells never
                                                come into contact with the environment throughout the entire process from removal to deployment. Sterile
                                                technique and oral antibiotics are also used to prevent infection. RETURN TO TOP…


                                                Does CSN use stem cells from any other animal source or person?
                                                No. Only a person’s own adult autologous cells are used. These are harvested from each individual and deployed
                                                back into their own body. There is no risk of contamination or risk of introduction of mammalian DNA into the
                                                treatments. RETURN TO TOP…


                                                Why do some stem cell facilities around the world require days to weeks
                                                before removal of mesenchymal stem cells until reinsertion into the patient?
                                                These facilities are obtaining stem cells from bone marrow or blood in relatively small quantities and they are then
                                                culturing (growing) the cells to create adequate quantities. Research seems to indicate that success of treatment is
                                                directly related to the quantity of cells injected. CSN uses adipose derived stem cells that are abundant naturally at
                                                approximately 2,500 times levels found in bone marrow (the most common source of mesenchymal stem cells).
                                                CSN uses technology that isolates adipose stem cells in vast numbers in a short time span so that prolonged
                                                culturing is unnecessary and cells can be deployed into a patient within 90 minutes of harvesting. RETURN TO TOP…


                                                Some stem cell treatment centers make extraordinary claims about their
                                                success in the treatment of various problems. Why doesn’t CSN?
                                                CSN is doing pioneer research and treatment of many diseases. All investigational data is being collected so that
                                                results will be published in peer review literature and ultimately used to promote the advancement of cellular based
                                                regenerative medicine. Unless a technology has FDA approval, medical claims and advertising testimonials are not
                                                appropriate. RETURN TO TOP…


                                                Can stem cells treat cancer?
                                                Stem cells have played an important role in cancer therapy for ve decades. Hematopoetic stem cells (similar to
                                                mesenchymal stem cells and also found in stromal vascular fraction) have been used to restore bone marrow and
                                                replace blood cell lines after planned ablation of a cancer patient’s bone marrow. This is known as a “stem cell
                                                transplant” and is associated with signi cant risk to cancer patients. Of course this is different than a regenerative
                                                therapy using stem cells to replace or repair damaged tissue. Having said that, new advances in cancer therapy have
                                                exploited stem cell property known as “TROPISM” which is the ability of stem cells to target tumors. This property
                                                has been used to help carry cancer killing agents deep into the cancer where the body’s immune system cannot
                                                always operate effectively. Cell Surgical Network is involved in cutting edge clinical trials using stem cells to carry
                                                cancer-killing biologic agents deep into cancer tissue that has not responded to conventional therapy. For more
                                                information on this study, call 800-231-0407 RETURN TO TOP…


                                                Can stem cells cause cancer?
                                                Adult mesenchymal stem cells are not known to cause cancer. Some patients have heard of stories of cancer
                                                caused by stem cells, but these are probably related to the use of embryonic cells (Not Adult Mesenchymal Cells).
                                                These embryonic tumors known as teratomas are rare but possible occurrences when embryonic cells are used.
                                                RETURN TO TOP…


                                                What about patients with known cancers?
                                                Stem cell therapy is thought to be safe and not affect dormant cancers. If someone has had cancer that was treated
                                                and responded successfully, there is no reason to withhold stem cell deployment. In most cases, stem cells should
                                                not be used in patients with known active cancer outside of an active protocol (see “Can stem cells treat
                                                cancer”) RETURN TO TOP…


                                                Are there reports of autologous adipose derived adult mesenchymal stem
                                                cells harming any humans or animals?
                                                Cell Surgical Network follows all our outcomes and any adverse events and we have had extraordinary safety since
                                                we started treating patients in 2010. . All of our patients are entered into a database to follow and report even minor
                                                adverse reactions. This information is vital to the development of stem cell science. There have been a few reports
                                                of serious complications from associated with other technologies. RETURN TO TOP…


                                                What claims are currently made by CSN about what stem cell therapy can do
                                                for you?

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                                                None. Our aim is to make cell based medicine available to patients who are interested and to provide ongoing
                                                research data under approved Institutional Review Board (IRB) validated studies. We will follow our stem cell
                                                treatment patients over their lifetimes. This will enable us to accumulate signi cant data about the various
                                                degenerative diseases we treat. Instead of providing simply anecdotal or testimonial information, our goal is to
                                                categorize the various conditions and follow the patient’s progress through various objective (e.g. x-ray evidence or
                                                video displays) and subjective (e.g. patient and/or doctor surveys) criteria. We are aware of a lot of stories about
                                                marked improvement of a variety of conditions, but we make no claims about the intended treatment. We have
                                                submitted preliminary safety data to the FDA as part of an approval application which is under consideration.. Still,
                                                these are your own cells and not “medicines” for sale. They are only being used in your own body. Most likely, no
                                                claim needs to be made; rather a statistical analysis of our ndings would su ce to suggest whether treatments are
                                                truly and signi cantly effective. RETURN TO TOP…


                                                Are any biological agents added to the stem cells such as medications or
                                                mixtures containing Plasma Enriched Platelets?
                                                Our adipose derived stem cell harvesting and isolation technique yields extremely high numbers of stem cells. In
                                                reviewing outcomes data, treatment cell numbers appear to correlate with treatment success. Our cells are actually
                                                in a type of “soup” called Stromal Vascular Fraction SVF which is stem cells bathed in a rich mixture of natural
                                                growth factors (Not the same as human growth factor hormone which is only one type of growth factor). Some types
                                                of orthopedic and urologic diseases appear to respond better to stem cells that are super enriched with growth
                                                factors created by administering Platelet Rich Plasma to the patient. Autologous Platelet Rich Plasma is derived
                                                from a patient’s own blood drawn at the time of deployment. At CSN we do not add any foreign substances or
                                                medications to the stem cells. RETURN TO TOP…


                                                How are the cells deployed into a patient?
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                                                                                                    Can I be expected to improve after stem
                                                                                                    cell treatment at CSN?
                                                                                                     Different conditions are treated in different ways and there are
                                                                                                     different degrees of success. If the goal is regeneration of joint
                                                                                                     cartilage, one may not see expected results until several months
                                                                                                     after treatment. Some patients may not experience signi cant
                                                                                                     improvement and others may see dramatic regeneration of
                                                                                                     damaged tissue or resolution of disease. Many of the disorders
                                                and problems that the physicians at CSN are treating represent pioneering work and there is a lack of data. FDA
                                                regulations prevent CSN from making any claims about expectations for success, however, if you are chosen for
                                                treatment, it will be explained that we believe stem cell therapy may be bene cial or in some cases that we are
                                                unsure and treatment would be considered investigational. RETURN TO TOP…


                                                How long does it take to see improvement?
                                                Stem cell therapy relies on the body’s own regenerative healing to occur. The regenerative process may take time,
                                                particularly with orthopedic patients, who may not see results for several months. In some diseases, more
                                                immediate responses are possible. RETURN TO TOP…


                                                Is everyone a candidate?
                                                No. Only certain medical problems are currently being treated at CSN. Check our list or ll out a candidate
                                                application form on the website. All patients need to be medically stable enough to have the treatment in our facility.
                                                There may be some exceptional conditions that may eventually be treated in hospitalized patients, but that remains
                                                for the future. Some patients may be declined due to the severity of their problem. Other patients may not have
                                                conditions appropriate to treat or may not be covered by our specialists or our protocols. A waiting list or outside
                                                referral (if we know of someone else treating such a problem) might be applicable in such cases. RETURN TO TOP…


                                                Are any patients automatically excluded?
                                                Yes. Patients with uncontrolled cancer are excluded. If you have an active infection anywhere in your body you must
                                                be treated rst. Severely ill patients may require special consideration. Also, anyone with a bleeding disorder or who
                                                takes blood thinning medications requires special evaluation before consideration for stem cells. RETURN TO TOP…


                                                Who decides who is eligible?
                                                The specialist seeing you at CSN will make a determination based on your history and exam, studies, and current
                                                research ndings. Any complex cases may be reviewed by our ethics advisory committee. Occasionally, we may
                                                seek opinions from thought leaders around the world. RETURN TO TOP…


                                                Does a candidate have to participate in research to receive treatment at
                                                CSN?
                                                No. Participation in any of our protocols is not mandatory and there are no incentives, nancial or otherwise, to
                                                induce patients to enroll in our studies. However, CSN is dedicated to clinical research for the development of stem
                                                cell science. CSN is taking an active role in cutting edge clinical research in the new eld of regenerative medicine.
                                                Research studies will be explained and privacy will be maintained. Formal future research studies will be regulated
                                                by an Institutional Review Board which is an authorized agency that promotes validity, transparency and protection of
                                                human study enrollees. RETURN TO TOP…


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                                                What are some diseases that CSN is de nitely not treating at this time?
                                                No psychiatric conditions are currently included in our IRb protocols. See list of problems currently being studied.
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                                                What is the cost of consultation and treatment?
                                                Patients who are considered to be candidates based on information provided in the candidate application form will
                                                be invited for a consultation which may be associated with a consultation fee in some cases. Consultation with a
                                                physician may include o ce evaluation, physician’s evaluation of X-Rays, review of records, or telephonic
                                                consultations.. Unfortunately, insurance generally will not cover the actual cost of stem cell treatment in most cases
                                                since stem cell therapy is still considered investigational the cost varies depending on the disease state being
                                                treated and which type of stem cell deployment is required. RETURN TO TOP…


                                                What does the cost of procedure include?
                                                Because of recent innovations in technology, CSN is able to provide outpatient stem cell treatment at a fraction of
                                                the cost of that seen in many overseas clinics. Our fees covers Stromal Vascular Fraction SVF harvesting,
                                                preparation, and deployment which may include the use of advanced interventional radiology and uoroscopy
                                                techniques. Total costs will be determined after a medical evaluation. RETURN TO TOP…


                                                How many injections are required for success?
                                                Most patients, especially those with orthopedic conditions, require only one deployment. Certain types of
                                                degenerative conditions, particularly auto-immune disease, may respond best to a series of stem cell deployments.
                                                The number and necessity of any additional treatments would be decided on a case by case basis. Financial
                                                consideration is given in these instances. RETURN TO TOP…


                                                Where can I get more information of stem cell treatments?
                                                Each “currently studying” section of our website includes a vast library with relevant literature. RETURN TO TOP…




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                                                        Elliot B. Lander, MD, FACS                                                                                                        Home / Teammate / Elliot B. Lander, MD, FACS




                                                        Certi ed Diplomat of the American Board of Urology
                                                        Fellow of the American College of Surgeons                                                                                             USA Candidate Application

                                                        Dr. Elliot Lander, a Board Certi ed Urologist, is Co-Founder and Co-Medical Director California Stem Cell Treatment
                                                                                                                                                                                               International Candidate Application
                                                        Center and the Cell Surgical Network.
                                                                                                                                                                                               Founders
                                                        Elliot B. Lander, M.D. F.A.C.S. is a Board-Certi ed Surgeon. He was born in Los Angeles, California. He graduated
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                                                                                                                                                                                               Cell Banking
                                                        medical school at the University of California, Irvine. For six years after medical school, Dr. Lander studied General
                                                        Surgery and then Urologic Surgery at the University of California, Irvine. He was a Clinical Assistant Professor of
                                                                                                                                                                                               Physicians Interested in Joining
                                                        Urology at the same UC Irvine while in practice in Orange County for ve years. During that time he was active in                       the Network
                                                        teaching residents and doing research.
                                                                                                                                                                                               Events
                                                        Dr. Lander has been elected as a Fellow of the American College of Surgeons. He has served as Chief of Urology at
                                                        Eisenhower Medical Center and Chief of Surgery at John F. Kennedy Hospital. Dr. Lander has been on staff at
                                                                                                                                                                                               Videos
                                                        Eisenhower Medical Center for twenty years. He is also an Expert Reviewer in Urology for the California Medical
                                                        Board. Dr. Lander is also doing clinical research on liposome encapsulated agents for the treatment of interstitial
                                                                                                                                                                                               CSN Publications
                                                        cystitis and is founder of Nanologix Research Inc. Additional areas of special focus also include focal treatment of
                                                        prostate cancer and regenerative urology with emphasis on Peyronies Disease and erectile dysfunction. Also, one
                                                        area of very special interest includes the study of the use of stem cells in developing cancer vaccines.
                                                                                                                                                                                              Contact Us
                                                        Dr. Lander is currently involved in cutting edge translational stem cell treatment research at the California Stem Cell
                                                        Treatment Center based in Rancho mirage and Beverly Hills. Dr. Lander is also co-founder of Cells On Ice® which is a                  Learn about the stem cell revolution
                                                        cryobanking stem cell technology company. He is a founding member of the International Cell Surgical Society, a                       Contact Us or Make an Appointment
                                                        nonpro t organization dedicated to research and education regarding the medical use of adult stem cells. Dr. Lander
                                                        and his team of multispecialty experts were instrumental in bringing fat derived stem cell technology to the United
                                                        States in 2010 and have pioneered several new techniques in regenerative medicine. Dr. Lander is co-founder of Cell                   Frequently Asked Questions
                                                        Surgical Network, an international research network dedicated to developing cell surgical techniques studying the
                                                        clinical applications of adipose derived stem cells and growth factors. Research a liate physicians trained by the                    What is a stem cell?
                                                        Cell Surgical Network team can be found in many U.S. cities and all around the world. The Cell Surgical Network                       How do adult stem cells heal?
                                                        organization oversees an online regenerative medicine database to track clinical outcomes and adverse events from                     How is the fat obtained?
                                                        stem cell treatment centers all over the globe. Dr. Lander is co-author of The Stem Cell Revolution, a popular book on
                                                                                                                                                                                              More FAQs...
                                                        regenerative medicine.


                                                                                                                                                                                              Stem Cells and the FDA
                                                        CURRICULUM VITAE | ELLIOT B. LANDER, MD, FACS
                                                                                                                                                                                              Stem cell treatment is not approved by
                                                        Certi ed Diplomate of the American Board of Urology                                                                                   the FDA for any speci c disease
                                                        Fellow of the American College of Surgeons
                                                        Co-Medical Director the California Stem Cell Treatment Center®                                                                        Click for details…


                                                        Co-Founder and Co-Medical Director of Cell Surgical Network®

                                                        Co-Founder of Cells On Ice® Inc.

                                                        Co-Founder of Nanologix Research Inc.




                                                        EDUCATION

                                                        1978-1982 Bachelor’s Degree, Occidental College, Los Angeles, California
                                                        1982-1986 Medical Doctor, University of California, Irvine
                                                        1986-1988 General Surgery Resident, U.C. Irvine Medical Center
                                                        1988-1992 Urology Resident, U.C Irvine Medical Center

                                                        PRIOR PRACTICE

                                                        1992-1997 Partner Physician Kaiser Permanente Medical Group, Assistant Clinical Professor of Urology, UC Irvine
                                                        College of Medicine.

                                                        CURRENT PRACTICE

                                                        Co-Founder and Co-Medical Director of California Stem Cell Treatment Center

                                                        Co-Founder and Co-Medical Director of Cell Surgical Network International Research Organization

                                                        Co-Founder of Cells On Ice Inc.

                                                        Private Solo Practice of Lander Regenerative Urology – specializing in men’s health and wellness



                                                                                                                                                                                                                                           Page 14 of 43
                                                        Member of Scienti c Advisory and executive board for StemImmune Corporation, San Diego, California


http://stemcellrevolution.com/dt_team/elliot-b-lander-md-facs-cv/                                                                                                                                                                                          1/5
8/29/2017                                                     Elliot B. Lander,
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                                                        Founder and Scienti c Advisor for Nanologix Research Inc.




                                                        AREAS OF SPECIAL EMPHASIS

                                                        Adult Stem Cell Treatment and translational research for Degenerative Diseases

                                                        Bio-Identical Hormone Replacement

                                                        Interstitial Cystitis and Peyronies Disease




                                                        CURRENT STAFF PRIVILEGES

                                                        Eisenhower Memorial Hospital, Rancho Mirage, California




                                                        INSTRUCTOR

                                                        Honorary Faculty American Board of Interventional Pain Physicians -Regenerative Medicine Competency
                                                        Examination 2016
                                                        MEMBERSHIPS

                                                        American Urologic Association

                                                        Fellow of the American Board of Urology

                                                        Fellow of the American College of Surgeons




                                                        LEADERSHIP EXPERIENCE

                                                        Past Chief of Urology at Eisenhower Medical Center, Rancho Mirage, California
                                                        Past Chief of Surgery at John F. Kennedy Hospital, Indio, California




                                                        SPECIAL TRAINING

                                                        Dr. Lander has done special training to certify in Laser Vaginal Rejuvenation and cosmetic genital reconstruction as
                                                        well as having performed over 4000 pelvic oor reconstruction procedures.




                                                        NON-PROFIT PARTICIPATION

                                                        Founding Board member emeritus “BRIDGE FOR PELVIC PAIN.” A non-pro t organization dedicated to advocacy,
                                                        education and resources for patients with chronic pelvic pain. 2014-2017

                                                        International Cell Surgical Society- Board member 2014-current




                                                        AWARDS AND HONORS

                                                          J. Gordon Hat eld Award in 1986. One award per year at U.C. Irvine for senior student demonstrating excellence
                                                          in surgery.
                                                          Graduated Magna Cum Laude from Occidental College with distinction in Biochemistry for honors thesis, 1982.
                                                          Phi Beta Kappa in 1982.
                                                          Carnation Honor Award (second highest academic merit award at Occidental college) 1978,1979,1980,1981.
                                                          Statewide NASA Youth Science Congress award for Basic Science Research, 1978.
                                                          National Science Foundation-Committee for Advanced Science Training Undergraduate Research Grant, 1979.
                                                          Palm Springs Best Doctors: Dr. Elliot Lander has been named as one of the ve “Top Docs” in Palm Springs for
                                                          2016. The article is featured in the July 2016 issue of Palm Springs Life magazine. Dr. Lander was also featured in
                                                          Palm Springs Life magazine in 2011 as one of the top 5 of 77 of the Deserts best doctors
                                                          Western Section American urologic Association Historical Essay Contest 4th Place- 2014




                                                        CURRENT RESEARCH

                                                        Principal Investigator: Additive Effects of Combination Therapy on Erectile Function with Tadala l and Neo40, a Nitric
                                                        Oxide Dietary Supplement.” Sponsor: NeoGenesis Labs. Houston, Texas. 2016

                                                        Principal Investigator: “Oncolytic Virus Combined with Autologous Stem Cells for Advanced Malignancy.” Sponsor:
                                                        StemImmune. San Diego California. 2016




                                                        BASIC SCIENCE/CLINICAL RESEARCH PROJECTS

                                                        JUNE 1984-DECEMBER 1984

                                                                                                                                                                                 Page 15 of 43
                                                        Basic science Research at University of California, Irvine Renal Transplantation Laboratory, Dr. Charles Hewitt.


http://stemcellrevolution.com/dt_team/elliot-b-lander-md-facs-cv/                                                                                                                                2/5
8/29/2017                                                     Elliot B. Lander,
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                                                                                  FACS - 07/08/19
                                                                                         Cell Surgical Network
                                                                                                         Page 17 of 44 Page ID #:358
                                                        Studied the effects of Uremia in Rat model.

                                                        1981
                                                        Pharmacology Research, UCLA Medical School. Studied the effects of Beta Blockers on Vascular Resistance.

                                                        1980
                                                        Clinical Research at Cedars Sinai Medical Center (Department of Cardiac Rehabilitation) Los Angeles. Studied
                                                        Myocardial Infarction and Subsequent Organic Brain Syndrome.

                                                        1979
                                                        Organic Chemistry Research at Occidental College, Los Angeles, Ca (under Dr. Frank DeHahn, PhD). Studied Friedel-
                                                        Crafts Reaction.

                                                        2012

                                                        Medical Director and Principal Investigator of Cell Surgical Network for the IRB approved investigational study of
                                                        stromal Vascular Fraction.




                                                        BOOK AUTHOR

                                                        Co-author of “The Stem Cell Revolution.” By Mark Berman MD and Elliot Lander MD. 2015 Authorhouse Company

                                                        Authored “Forward” in “Desmystifying Stem Cells- A Real Life Approach.” By Bohdan Olesnicky MD and Naota
                                                        Hashimoto DC.




                                                        PUBLICATIONS

                                                          Berman S,Uhlendorf TL, Mills DK, Lander EB, Berman MH, Cohen RW. Validation of Acoustic Wave Induced
                                                          Traumatic Brain Injury in Rats. Brain Sci. 2017 Jun 2;7 (6).
                                                          Berman M, Lander E. A Prospective Study of Adipose Derived Stromal Vascular Fraction Using a Specialized
                                                          Surgical Processing system. The American Journal Cosmetic Surgery. Feb 2017 (1-14).
                                                          Lander EB, Berman MH, See J. Stromal Vascular Fraction Cells: Applications in Chronic Pain. Techniques in
                                                          Regional Anesthesia and Pain Management. 19 (2015) 10-13.
                                                          Lander EB, Berman MH, See J. Stromal Vascular Fraction Combined with Shock Wave for the Treatment of
                                                          Peyronie’s Disease. Reconstr. Surg. Glob Open 2016;4:e631; doi: 10.1097 GOX.0000000000000622; Published
                                                          online 2 March 2016.
                                                          Lander EB, See JR. Intravesical instillation of pentosan polysulfate encapsulated in a liposome nanocarrier for
                                                          interstitial cystitis. Am J. Clin. Exp. Urol. 2014;2(2):145-148

                                                          Lander EB. Lee I. Giant Scrotal Lipomatosis. J. Urol. 156: 1773, 1996.
                                                          Lander EB. Severe Hemoglobinuria Masquerading as gross hematuria following mitral valve replacement. J. Urol.
                                                          153: 1639, 1995.
                                                          Lander EB, Shanberg AM, Tansey LA, Sawyer DE, Groncy PK, Finkelstein JZ. The use of continent diversion in the
                                                          Management of rhabdomyosarcoma of the Prostate in childhood J. Urol. 147: 1602, 1992.
                                                          Lander EB, Hewitt CW, Black KS Martin DC. Evaluation of rat Renal Allograft Model in comparison to man: A
                                                          physiological perspective. J. Urol. 136:710, 1986.
                                                          Vyden JK, Nagasawa K, Kanazawa M, Rose, Seino Y, Robertson M, Lander EB. Lack of effect of Cyclandelate in
                                                          Peripheral Arterial disease. Angiology 35:1, 1984.
                                                          Detection of Unsuspected cognitive impairment in Cardiac rehabilitation patients. Chapter 24 in “Post Myocardial
                                                          Infraction Management and Rehabilitation.’ M. Dekker, Inc, 1983.
                                                          Study of Salivary and Serum Antibody Response in Mice following oral challenge with S. Mutans. Winning paper at
                                                          statewide NASA youth Science Congress, 1978.




                                                        PATENTS

                                                        Glycosaminoglycan encapsulation in a liposomal nanocarrier drug delivery system. Patent application No.
                                                        13/802,445 led Mar 13, 2013 entitled: Method and Composition for Treating Cystitis.

                                                        Growth factor and stem cell encapsulation in a liposomal nanocarrier drug delivery system. Patent application No.
                                                        13/900,518 led May 22, 2013 entitled: Method and Composition for Treating Cystitis.

                                                        Combination of Shock Wave and Stem Cell for Degenerative Disease. Provisional patent led 2014.




                                                        ACADEMIC PRESENTATIONS

                                                        Transurethral Prostatectomy: Reduced Duration of Catheterization and Hospitalization presented at the 67th Annual
                                                        Meeting Western Section American Urological Association. Vancouver B.C. Canada on August 1st, 1991.




                                                        Fat Derived Stem Cells presented at 7th Annual National Society of Cosmetic Surgeons. Las Vegas, Nevada, 2012.




                                                        Interstitial Cystitis: Current Concepts presented at Grand Rounds event Annenberg Center for Health Sciences at
                                                        Eisenhower Medical Center, Rancho Mirage, California on January 3, 2013.



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8/29/2017                                                     Elliot B. Lander,
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                                                        Adipose Derived Stem Cells and Urologic Regenerative Medicine presented at American Academy of Cosmetic
                                                        Surgery 29th Annual Scienti c Meeting. Las Vegas, Nevada on January 16th,2013.




                                                        New Horizons In Regenerative Urology presented at SELECTBIO Clinical Translation of Stem Cells Summit 2013.
                                                        Rancho Mirage, California on January 23rd, 2013.




                                                        Autologous Adipose Derived Stromal Vascular Fraction for the Treatment of Interstitial cystitis‐ A Pilot Study presented
                                                        at American Urologic Association Western Section 89th Annual Meeting. Monterey, California on November 3rd, 2013.




                                                        Intravesical Pentosan Polysulfate Encapsulated in a Liposome Nanocarrier for Interstitial Cystitis. Poster presented at
                                                        American Urologic Association Western Section 89th Annual Meeting. Monterey, California on November 3rd, 2013.




                                                        Autologous Adipose Derived Stromal Vascular Fraction Combined with Low Intensity Shock Wave Therapy for the
                                                        Treatment of Peyronies Disease‐ A Pilot Study. Poster presented at American Urologic Association Western Section
                                                        89th Annual Meeting. Monterey, California on November3rd, 2013.




                                                        Regenerative Urology presented at 2013 World Stem Cell Summit, San Diego, California, on December 4th, 2013.




                                                        Stromal Vascular Fraction Combined with Low Intensity Shock Wave Therapy for Peyronies Disease presented at 2014
                                                        American Academy of Cosmetic Surgery 30th Annual Scienti c Meeting. Hollywood, Florida, on January 14th, 2014.




                                                        Regenerative Urology presented at FATS Bangkok 2014. Visiting Surgeon at Ramathibodi Hospital in Bangkok,
                                                        Thailand on April 18th, 2014.




                                                        Regenerative Urology and ED presented at SELECTBIO Clinical Translation of Stem Cells Summit 2014. Rancho
                                                        Mirage, California on April 21st, 2014.




                                                        The Role of The Surgeon in Regenerative Urology at Anti-Aging Regenerative & Aesthetic Medicine 22nd Annual World
                                                        Congress. Orlando, Florida on May 17th, 2014.




                                                        The Role of The Physician In Regenerative Urology presented at 2014 John C. Lincoln Health Network Medical Staff
                                                        Retreat. Sedona, Arizona on June 9th, 2014.




                                                        Innovations In Stem cell Treatments and Regenerative Medicine presented at 2014-2015 World Medical tourism and
                                                        global Healthcare Congress. Washington DC on September 21st, 2014.




                                                        Adipose Derived Stem Cells And Extracorporeal Shock Wave Therapy For Erectile Dysfunction. Poster presented at
                                                        American Urologic Association Western Section 90th Annual Meeting. Mauai, Hawaii on October 26th, 2014.




                                                        Peyronies Disease. Presented at the American Academy of Cosmetic Surgery’s 31st Annual Scienti c Meeting-
                                                        Technological Advancements in Cosmetic Surgery. New Orleans, Louisiana on January 14th, 2015.




                                                        Treatment of Peyronie’s Disease with Autologous Adipose Derived Stromal Vascular Fraction Rich in Adult Stem Cells
                                                        Combined with Penile Shock Wave Therapy. Sexual Medicine Podium Session American Urologic Association
                                                        Western Section 91st Annual Meeting. Indian wells, California on October 27th, 2015.




                                                        Treatment of Interstitial Cystitis With Autologous Adipose Derived Stromal Vascular Fraction Rich in Adult Stem Cells
                                                        and Growth Factors. Pelvic Floor Podium Session American Urologic Association Western Section 91st Annual
                                                        Meeting. Indian wells, California on October 27th, 2015.




                                                        Session chairman and speaker: Various Disease Classes Addressed by Adult Stem Cells—Therapies in Development
                                                        and in the Clinical/Surgical Realm. Clinical and Surgical Translation of adult Stem Cells. San Diego, California on Nov
                                                        9th and 10th, 2015.


                                                                                                                                                                                   Page 17 of 43
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                                                        Session Moderator and Presenter: Stromal Vascular Fraction and Urology. Academy of Regenerative Practices, Fort
                                                        Lauderdale, Florida on February 6th, 2016.




                                                        Stromal Vascular Fraction and Pain. Florida Society of Interventional Pain Physicians 2016 Annual Meeting. Orlando,
                                                        Florida on May 21st, 2016.




                                                        SVF Anatomy, Physiology, MOA, and Preparation. Regenerative Medicine Review Course. American Society of
                                                        Interventional Pain Physicians. Las Vegas, Nevada on August 19th, 2016.




                                                        SVF Applications in Chronic pain and Other Disorders. Regenerative Medicine Review Course. American Society of
                                                        Interventional Pain Physicians. Las Vegas, Nevada on August 19th, 2016.




                                                        Injection of Autologous Mesenchymal SVF into the Human Brain Ventricular System for Neurodegenerative Disorders:
                                                        2-Year Results of a Phase 1 study in 20 Patients. Presented by Dr. Chris Duma (lead author) at the Congress of
                                                        Neurological Surgeons CNS Annual meeting in San Diego, California on September 24th, 2016 and at Podium session
                                                        of International Society for Cell Therapy ISCT North America Regional Meeting in Memphis Tennessee on Sept 30th,
                                                        2016.




                                                        Stromal Vascular Fraction Cells: Evolution, Physiology, Indications, mechanism of Action and Preparation. Essentials of
                                                        Regenerative Medicine in Interventional Pain Management. Faculty Instructor for American Society of Interventional
                                                        Pain Physicians. Memphis, Tennessee on March 3rd and 4th, 2017.

                                                        New applications of Stem Cells in clinical Practice. Sixth Annual EMA Primary Care Medical Education Conference
                                                        “Innovations in Healthcare.” Eisenhower Medical Center, Rancho Mirage, California on May19th, 2017

                                                        Stromal Vascular Fraction Cells: Evolution, Physiology, Indications, mechanism of Action and Preparation with Cadaver
                                                        Training Course. Essentials of Regenerative Medicine in Interventional Pain Management. Faculty Instructor for
                                                        American Society of Interventional Pain Physicians. Orlando, Florida on June 16th and 17th, 2017.




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8/29/2017                                                   Mark Berman,
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                                                                                                                                                                Stem Cells (ADSC's) for clinical research and deployment.


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                                                    Mark Berman, MD, FACS                                                                                                           Home / Teammate / Mark Berman, MD, FACS




                                                    Co-Medical Director :: Dr. Berman, the 2010 President of the American Academy of Cosmetic Surgery, has been in
                                                    private practice in the West Los Angeles area since 1983 and has been practicing in the Desert Area since 2003. Dr.                 USA Candidate Application
                                                    Berman graduated from UCLA prior to completing medical school at the Chicago Medical School. He is a clinical
                                                    instructor in facial plastic surgery through the University of Southern California. Dr. Berman is a Diplomate with the              International Candidate Application
                                                    American Board of Cosmetic Surgery and the American Board of Otolaryngology (Head and Neck Surgery). He is a
                                                    Fellow of the American College of Surgeons. Los Angeles Magazine has named him one of the Top Doctors in                            Founders
                                                    Southern California. Dr. Berman is well known for his work with stem cell / fat grafting to restore three-dimensional
                                                    volume to the aging face. This has led him to his work with adipose derived stem cells. He is also known as a                       Cell Banking
                                                    pioneer in the use of Gore-Tex materials in cosmetic surgery. He holds a patent on an e-PTFE breast implant device –
                                                    the Pocket Protector – used to improve breast augmentation surgery. He has also authored a novel – Substance of                     Physicians Interested in Joining
                                                    Abuse – a controversial sexy thriller that suggests a solution to the war on drugs. Dr. Berman and his wife, Saralee,               the Network
                                                    have one son, Sean, two dogs and two turtles.
                                                                                                                                                                                        Events
                                                    Co-Medical Director
                                                                                                                                                                                        Videos
                                                    Undergraduate education: U.C.L.A. B.A. 1974
                                                    Graduate education: CHICAGO MEDICAL SCHOOL M.D. 1979                                                                                CSN Publications


                                                    Personal
                                                                                                                                                                                       Contact Us
                                                    Born: November 13, 1952 – Philadelphia, Pennsylvania
                                                                                                                                                                                       Learn about the stem cell revolution
                                                    Married: wife – Saralee Children – Sean                                                                                            Contact Us or Make an Appointment

                                                    Dogs: Vinnie, Lola
                                                                                                                                                                                       Frequently Asked Questions
                                                    Professional
                                                                                                                                                                                       What is a stem cell?
                                                                                                                                                                                       How do adult stem cells heal?
                                                             Internship: General Surgery – 1980 – Loma Linda University / White Memorial Medical Center, Los
                                                                         Angeles, CA Jerrold Longerbeam, M.D. – chief                                                                  How is the fat obtained?
                                                                                                                                                                                       More FAQs...
                                                            Residency: Otolaryngology – Head and Neck Surgery – 1983Loma Linda University / White Memorial
                                                                       Medical Center, Los Angeles, CA Leland House, M.D. – chief 1980-82William Hall, M.D. – chief
                                                                       1982-83                                                                                                         Stem Cells and the FDA

                                                       Private practice: Cosmetic SurgeryFacial Plastic and Reconstructive Surgery                                                     Stem cell treatment is not approved by
                                                                                                                                                                                       the FDA for any speci c disease
                                                               Faculty: Clinical Instructor – Dept. Oto/Head and Neck SurgeryLoma Linda Univ./White Memorial
                                                                        Medical Center 1983-86,Clinical Instructor – Facial Plastic Surgery – USC School of Medicine                   Click for details…
                                                                        (2001 – current)

                                                             Licensure: California State

                                                                  Board Diplomate of the American Board of Otolaryngology – Head and Neck Surgery Oct.
                                                           Certi cation: 1983Diplomate of the American Board of Cosmetic Surgery Feb. 1989Fellow American
                                                                         College of Surgeons Oct. 1990

                                                             Additional: Fluent in SpanishRe-certi ed – Advanced Cardiac Life Support (08-10)Volunteer Medical
                                                                         services – Venice Family Clinic 1983 – 1998

                                                                          Chairman – Research Advisory for Surgical Technologies Laboratory, Inc., Coumbia, South
                                                                          Carolina

                                                                          Patents: 1. Pocket Protector® – breast implant device

                                                                          2. SAF-T-VAC™ – suction device for cautery

                                                                          SUBSTANCE OF ABUSE – a novel, published Aug. 2001



                                                    Hospital A liations
                                                      St. John’s Hospital and Health Center
                                                      Santa Monica/UCLA Hospital Medical Center
                                                      USC – Hudson & LA County


                                                    Societies and Awards
                                                      American College of Surgeons – FELLOW

                                                                                                                                                                                                                                   Page 19 of 43
                                                      American Academy of Otolaryngology – Head and Neck Surgery – FELLOW


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                                                      American Academy of Cosmetic Surgery – FELLOW
                                                        Immediate Past-President – 2011
                                                        President – Jan. 30, 2010 – 2011
                                                        President-Elect 2009
                                                        Board of Trustees – from 2003 (current)
                                                        Program Chairman – 2010 Annual Scienti c Meeting AACS
                                                        Program Chairman – 2004 World Congress Liposuction
                                                        Finance Committee – 2002, 2003
                                                        Chairman – Membership Committee 1999-2002
                                                        Chairman – Continuing Medical Education Committee 1998-99
                                                        Chairman – Nominating Committee – 2009
                                                        Nominating Committee 1998, 2000
                                                        Editorial review for – American Journal of Cosmetic Surgery
                                                        Senior Editor – American Journal of Cosmetic Surgery

                                                      American Board of Cosmetic Surgery – Board of Trustees – 2004 – 2010
                                                      American Academy of Aesthetic and Restorative Surgery – Charter Member
                                                      American Academy of Facial Plastic and Reconstructive Surgery – ASSOCIATE MEMBER (1984 – 1999)
                                                      Los Angeles Society of Otolaryngology – Head and Neck Surgery
                                                      Los Angeles County Medical Association (1983 – 1999)
                                                      California Medical Association (1983 – 1999)
                                                      American Medical Association
                                                      American Society of Liposuction Surgery
                                                      American Society of Cosmetic Breast Surgery – Fellow
                                                      President (term 5/03 – 5/04)
                                                      California Academy of Cosmetic Surgery
                                                      Board of Trustees, since 1998
                                                      President (8/99 – 11/01)
                                                      Honorary Member – French Society of Aesthetic Surgery – presented May 2006.
                                                      L.A. Magazine, Dec. 2008, Jan. 2010, Jan. 2011 – Top Doctors in Southern California – Cosmetic/Plastic Surgery
                                                      Guardian of the Practice Award – presented Oct. 9, 2010 by the California Association of Nurse Anesthetists,
                                                      Pasadena, CA.
                                                      2011 Best Scholarly Article Award from the American Journal of Cosmetic Surgery – “The Double Columellar
                                                      Strut: An Adjunct to Improve the Nasal Tip.”
                                                      2010 Luisa Award – Outstanding Contributions in Cosmetic Surgery presented by the International Society of
                                                      Cosmetogynecology
                                                      Medical Board of California – participated in Liposuction Regulation development as representative of the AACS
                                                      and CACS


                                                    Research, publications, papers or presentations
                                                    Resident projects:

                                                      “The Neck Mass – Carotid Aneursysm in Patient with Neuro- bromatosis” – presented to L.A. Society of
                                                      Oto/Head and Neck Surgery, 4/83 and presented to Annual Meeting of AA)-HNS, Las Vegas, 8/84.
                                                      “Relapsing Polychondritis – case report and literature review.” with Andrew Ordon, M.D. – presented to L.A.
                                                      Society of Oto/Head and Neck Surgery, 4/83.
                                                      “Chondrosarcoma of the Larynx” with Harrell Robinson, M.D., presented to L.A. Society of Oto/Head and Neck
                                                      Surgery, 4/81.

                                                    Post-graduate projects:

                                                      “The Use of Gore-Tex™ e-PTFE Bonded to Silicone Rubber as an Alloplastic Implant Material,” (contributing
                                                      authors – Pearce, WJ and Tinnin, M.) LARYNGOSCOPE, May 1986.
                                                      Presented to Western Section of American Triologic Society, Inc., San Francisco, CA 1/11/86.
                                                      “Use of Gore-Tex™ Materials in Facial Plastic Surgery,” presented to West.Sect. AAFPRS, Century City, CA 1/9/87
                                                      “Use of Computer Graphics in Rhioplasty: 1 Year Experience,” presented to West.Sect.Triologic Society, Century
                                                      City, CA 1/10/87
                                                      “Gore-Tex™/Silicone Bonded Implants,” presented at “Latest Advancements in Cosmetic Surgery of the Face”,
                                                      Foundation for Facial Plastic Surgery, Newport Beach, CA 8/5/87
                                                      “The Use of Gore-Tex™ Materials in Cosmetic Surgery,” presented at the Scienti c Meeting of the American
                                                      Academy of Cosmetic Surgery, Century City, CA 2/7/88
                                                      FACULTY – American Academy of Cosmetic Surgery – Scienti c Meeting, course instructor on Computer Imaging
                                                      – 2/88
                                                      COSMETIC SURGERY – IN SEARCH OF PERFECTION – contributing author book published 1987.
                                                      Course instructor for The Learning Annex – Cosmetic Surgery course, monthly seminars for the general public
                                                      1987-88
                                                      “Rhinoplasty ’89 – Perspectives on form and Function” – lecture presentation to Family Practice Program at Santa
                                                      Monica Hospital 12/5/88
                                                      FACULTY – American Academy of Cosmetic Surgery – Annual Scienti c Meeting, Century City, CA – computer
                                                      imaging 1/89
                                                      “The Use of Gore-Tex™ Materials in Facial Plastic Surgery” – presentation for 5th International Symposium of
                                                      Facial Plastic and Reconstructive Surgery – Toronto, 6/89
                                                      “The Use of Gore-Tex Materials in the Practice of Cosmetic Surgery”, AM. JOURNAL COSMETIC SURGERY, Vol.6,
                                                      No.1, 1989
                                                      FACULTY – Annual Meeting of Am. Acad. Facial Plastic and Reconstructive Surgery – computer imaging
                                                      instructor, New Orleans, LA – 9/89
                                                      “Marketability of Computer Imaging,” FACIAL PLASTIC SURGERY, Vol.7, No.1, 1990
                                                      “New Perspective on Diagnosis and Treatment of the Aging Lower Lids” – presentation Annual Scienti c Meeting
                                                      of the American Academy of Cosmetic Surgery, Century city, 1/90
                                                      “Local Anesthesia with Sedation: Safe, Simple and Effective” – presentation Annual Scienti c Meeting of the
                                                      American Academy of Cosmetic Surgery, Century City, 1/90
                                                      FACULTY – The Foundation of Facial Plastic Surgery – Annual Meeting, Newport Beach, CA 8/9-11/90 presented

                                                                                                                                                                         Page 20 of 43
                                                      the following:


http://stemcellrevolution.com/dt_team/mark-berman-md-facs-cv/                                                                                                                            2/8
8/29/2017                                                   Mark Berman,
                               Case 5:18-cv-01005-JGB-KK Document    48-4MD, FACS
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                                                        “Diagnosis and Treatment of the Aging Lower Eyelid”
                                                        “Out-Patient Surgery Workshop: Local Anesthesia with Sedation”
                                                        “Gore-Tex™ Materials in the Practice of Facial Plastic Surgery”
                                                        “Gore-Tex™ Materials in Rhinoplasty”

                                                      “Diagnosis and Treatment of the Aging Lower Eyelids” – paper presentation, Western Section of AAFPRS, San
                                                      Francisco 2/2/91
                                                      “The Long-term Use of Gore-Tex™ STP in the Practice of Facial Plastic Surgery” – paper presentation – Western
                                                      Regional Meeting of AAFPRS – Beverly Hills, CA 2/1/92
                                                      “The Long-term Use of Gore-Tex™ STP in the Practice of Cosmetic Surgery” – paper presentation – Annual
                                                      Scienti c Meeting of the American Academy of Cosmetic Surgery, Century City, CA 2/13/92
                                                      “Gore-Tex™ in Cosmetic Surgery”, and “Autologous Fat Transplantation for Correction of Aging Lower Eyelids” –
                                                      presentations at International Society of Plastic, Aesthetic, and Reconstructive Surgery – Annual meeting, Rome,
                                                      Italy, 9/2/92
                                                      “Long-term Use of Gore-Tex”, “New Perspectives in Diagnosis and Treatment of Aging Lower Eyelids”, and
                                                      “Diagnosis and Treatment of the Nasal Labial Fold” – presented at the Foundation for Facial Plastic Surgery
                                                      meeting, Aspen, CO, 3/93
                                                      “Gore-Tex™ in Nasal Surgery”, presented at The World Congress on Rhinoplasty special tribute to Richard
                                                      Webster, MD, American Academy of Cosmetic Surgery, Phila.,PA, 5/1/94
                                                      FACULTY – “Augmentation Breast Surgery – Personal Technique,” American Society of Cosmetic Breast Surgery,
                                                      Newport Beach, CA 6/17/94
                                                      “Gore-Tex™ e-PTFE in Nasal Surgery and Review of Long Term Results,” AMERICAN JOURNAL OF COSMETIC
                                                      SURGERY, Vol.11, No.3, 1994
                                                      “The Long Double Columellar Strut in Rhinoplasty,” Gore- Tex™/Silicone Rubber Custom Nasal Tip Prosthesis,”
                                                      “Gore- Tex™ Material for Lip Enhancement,” and Instructional Course presentation on “Gore-Tex™ as an
                                                      Alloplastic Material in Cosmetic Surgery.” Annual Scienti c Meeting of the American Academy of Cosmetic
                                                      Surgery, Los Angeles, CA 1/20-22/95
                                                      FACULTY – Symposium on Cosmetic Breast Surgery – “Prevention of Complications” and “Treatment of Capsule
                                                      Contracture,” American Academy of Cosmetic Surgery and American Society of Cosmetic Breast Surgery,
                                                      Baltimore, MD, 5/95
                                                      FACULTY – American Society of Cosmetic Breast Surgery – “Prevention and Management of Complications,
                                                      “Treatment of Capsule Contracture,” and Videotape Presentation, Newport Beach, CA 5/17/96
                                                      “The Aging Face: New Perspectives in Diagnosis and Treatment,” presentation to the Annual Scienti c Meeting of
                                                      the American Academy of Cosmetic Surgery, Rancho Mirage, CA 1/17/97
                                                      FACULTY – presentations for meeting of American Academy of Cosmetic Surgery, Aspen, CO – Complications
                                                      and innovations – 1) Rhinoplasty Skin Necrosis, 2) Gore-Tex™ Lip Enhancement, 3) Abdominoplasty Flap
                                                      Necrosis, 4) Subglandular Breast Augmentation, 5) Treatment of Breast Capsular Contracture, and 6) Treatment of
                                                      Capsular Contracture with Seroma and Mal- position of Revised Prosthesis. Aspen, CO, 4/97
                                                      FACULTY – presenter at American Society of Cosmetic Breast Surgery, Annual meeting, Newport Beach, CA
                                                      5/16/97
                                                      FEATURED SPEAKER – “The Aging Face: Different Perspectives in Diagnosis and Treatment,” Total Body
                                                      Contouring Meeting, American Academy of Cosmetic Surgery, Atlanta, GA, 10/17/97
                                                      COSMETIC SURGERY – WHAT YOU REALLY NEED TO KNOW – self-published book on cosmetic surgery authored
                                                      by Mark Berman, MD, 12/97
                                                      FACULTY – presenter at American Society of Cosmetic Breast Surgery, Annual meeting, Newport Beach, CA
                                                      3/13/98
                                                      “The Aging Face: Different Perspective in Diagnosis and Treatment,” AMERICAN JOURNAL OF COSMETIC
                                                      SURGERY, Vol.15, No.2, 1998
                                                      “Volume Replenishing for Treatment of the Aging Face: Emphasis on the Upper Eyelid,” presented at the Annual
                                                      Scienti c Meeting of the American Academy of Cosmetic Surgery, Los Angeles, CA 1/28/99
                                                      Invited Faculty – “Autologous Fat Transplantation for the Treatment of the Aging Eyelid”, “Gore-Tex : What Works
                                                      and Where”, Symposium on Facial Rejuvenation, Am. Academy of Cosmetic Surgery, Hilton Head Island, S.C.,
                                                      4/23/99.
                                                      FACULTY – presenter at American Society of Cosmetic Breast Surgery, Annual meeting, Newport Beach, CA
                                                      5/14/99
                                                      Invited Speaker – “Volume Restoration to Improve the Aging Face – Emphasis on the Upper Eyelid.” presented at
                                                      the 12th International Congress on Aesthetic Medicine, Rio De Janeiro, Brazil, 11/6/99.
                                                      Guest Speaker – Face-Lifting/Aging Face Treatment – UCLA Maxillo/Facial Dept. – Monthly Cosmetic Surgery
                                                      Meeting, 12/15/99.
                                                      Invited Faculty – American Board of Cosmetic Surgery – Review Course – Facial Cosmetic Surgery, 3/4/00.
                                                      Invited Speaker – 1) Volume Restoration for the Aging Face, 2) The Double Columellar Strut for Improving the
                                                      Rhinoplasty Tip, 3) Preventing Complications in Breast Augmentation – 2nd Annual Advances in Cosmetic
                                                      Surgery – Foundation for Facial Plastic Surgery – Aspen, CO, 3/15-18/00.
                                                      Examiner – Oral Exams, American Board of Cosmetic Surgery Annual Board Examination, April 15, 2000.
                                                      Invited Speaker – 1) Fat Augmentation to the Brow and Periorbital Area, 2) Anatomy and Management of the
                                                      Aging Neck, 3) Live Surgical Demonstration of Volume Restoration with Fat Grafting – Jules Stein Eye Institute –
                                                      New Techniques in Facial Rejuvenation, etc., Los Angeles, CA, May 12 – 13, 2000.
                                                      FACULTY – presenter at American Society of Cosmetic Breast Surgery, Annual meeting, Newport Beach, CA
                                                      5/19/00.
                                                      “Volume Restoration to Correct the Aging Eyelid,” presented to the 2nd Annual Education Seminar of the California
                                                      Academy of Cosmetic Surgery, Palm Springs, CA 11/12/2000.
                                                      “Rejuvenation of the Upper Eyelid Complex with Autologous Fat Transplantation,” The American Journal of
                                                      Dermatologic Surgery, 26:12: December 2000.
                                                      FACULTY – presented: “The Emperor’s New Clothes” – A Different Perspective on the Diagnosis of the Aging Face;
                                                      Volume Restoration of the Aging Face; Third Annual Symposium on the Latest Advances in Cosmetic Surgery,
                                                      Foundation for Facial Plastic Surgery, Aspen, CO, 2/28-3/3-01.
                                                      Examiner – Oral Exams, American Board of Cosmetic Surgery Annual Board Examination, April 21, 2001.
                                                      FACULTY – presentor at American Society of Cosmetic Breast Surgery, Annual meeting, Newport Beach, CA 4/27-
                                                      30/01
                                                      Invited Speaker – “Lipoaugmentation in treating facial atrophy” and “Emphasis on repairing iatrogenic defects”,
                                                      3rd Pan-Am Congress on Aesthetic Medicine/ 8th Brazilian Congress on Aesthetic Medicine, 6/29-30/01.
                                                      Invited Speaker – “Fat Transfer – Exploring the Space Lift” – UCLA/AACS Cosmetic Surgery Fellowship Lecture
                                                      Series, UCLA, Los Angeles, CA, 7/18/01.

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http://stemcellrevolution.com/dt_team/mark-berman-md-facs-cv/                                                                                                                             3/8
8/29/2017                                                   Mark Berman,
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                                                      FACULTY – presented: “Upper Eyelid Restoration with Volume Restoration” and “The Space Lift”; Annual Meeting
                                                      of the Foundation for Facial Surgery, Newport Beach, Ca 8/9-10/01
                                                      Featured Speaker, “What’s Gravity Got to do With It – Exploring the Space Lift”, American Academy of Cosmetic
                                                      Surgery, New Orleans, LA, 10/12/01 (meeting canceled/ NYC bombing)
                                                      Invited Speaker – “Exploring the Space Lift”, 3rd Annual Education Seminar for the California Academy of
                                                      Cosmetic Surgery, Palm Springs, CA 11/4/01
                                                      Invited Speaker – Stanford University Head and Neck Surgery Dept, Grand Rounds, “Exploring the Space Lift” –
                                                      Jan. 17, 2002.
                                                      FACULTY – UCLA Eyelid Rejuvenation Meeting and Live Surgery Demonstration, my o ce, Jan. 23, 2002.
                                                      Examiner – Oral Exams, American Board of Cosmetic Surgery Annual Board Examination, April 13, 2002.
                                                      Faculty – The Space Lift – Repairing Iatrogenic Defects, The 16th Annual Symposium on the Latest Advances in
                                                      Cosmetic Surgery of the Face, Foundation for Facial Plastic Surgery, Newport Beach, CA, 8/9/02.
                                                      Invited Speaker – Exploring the Space Lift, Minimally Invasive Aesthetic Surgery of the Face, UCLA Medical
                                                      School, Big Island, Hawaii, 8/31/02.
                                                      Faculty – Reliable Small Volume Fat Grafting – Instruction Course for Fall Meeting of the Am Acad. of Facial
                                                      Plastic and Recon Surgery, San Diego, CA, 9/21/02.
                                                      Invited Speaker – Exploring the Space Lift – St. John’s Hospital Head and Neck Surgery Monthly Meeting, October
                                                      23, 2002.
                                                      Speaker – Space Lift – Repairing Iatrogenic Defects, Annual Meeting Of the American Academy of Cosmetic
                                                      Surgery, Rancho Mirage, CA, 1/24/03.
                                                      Faculty – presentor at American Society of Cosmetic Breast Surgery, Annual meeting, Newport Beach, CA 5/30-
                                                      6/1/03.
                                                      Invited Speaker – Exploring the Space Lift; Introducing the Liposuction Trauma Factor; Foundation for Facial
                                                      Plastic Surgery, Lake Tahoe, CA, March 5-8, 2003.
                                                      Invited Speaker – The Space Lift – Repairing Iatrogenic Defects; Foundation for Facial Plastic Surgery, Newport
                                                      Beach, CA 8/6/03.
                                                      Faculty – The Space Lift – Repairing Iatrogenic Defects; Introducing The Pocket Protector – A New Breast Implant
                                                      Device; American Academy of Cosmetic Surgery, Fall Symposium on Body Contouring, 10/10/03.
                                                      Speaker – Introduction to the Pocket Protector – A New Breast Implant Device; Anterior Face Lift and Space Lift,
                                                      Annual Scienti c Meeting American Academy of Cosmetic Surgery, Hollywood, FL, 1/29/2004.
                                                      Faculty – Anterior Face Lift and Space Lift, Double Columellar Strut, Foundation for Facial Plastic Surgery, Tahoe,
                                                      CA, 2/25/04.
                                                      Faculty – presenter at American Society of Cosmetic Breast Surgery, Annual meeting, Newport Beach, CA 6/1-
                                                      3/04.
                                                      “The Pocket Protector: A New Breast Implant Device,” Am J Cosmetic Surgery, Vol.21, No.3 27-41, 2004. (original
                                                      article).
                                                      Invited Speaker – The Space Lift: The Art of Fat Grafting, Foundation for Facial Plastic Surgery, Newport Beach,
                                                      CA, 8/8/04.
                                                      Program Chairman, 2004 World Congress of Liposuction, American Academy of Cosmetic Surgery, St. Louis, MO,
                                                      10/1-3/04.
                                                      Faculty; Present – “Space Lift: State of the Art of Fat Grafting; Instructional course on Fat Transfer.
                                                      Speaker – The Pocket Protector: 100 Cases; Annual Scienti c Meeting, American Academy of Cosmetic Surgery,
                                                      San Diego, CA 1/29/05
                                                      Faculty – Space Lift: The Art of Fat Grafting, Foundation for Facial Plastic Surgery, Lake Tahoe, CA, 3/4/05.
                                                      Speaker – The Pocket Protector: 130 Cases; Space Lift – Blepharoplasty; French Aesthetic Surgery Society, Paris,
                                                      France, May 20-21/05.
                                                      Faculty – Personal Preferences in Cosmetic Breast Surgery, American Society of Cosmetic Breast Surgery,
                                                      Newport Beach, 6/3/05.
                                                      Faculty speaker – Blepharoplasty Doesn’t Mean You Have to Cut, Foundation for Facial Plastic Surgery, Newport
                                                      Beach, CA 8/4/05
                                                      Guest speaker – The Pocket Protector: 145 Cases – keynote speaker Invited to Mentor Corp. Conference, Dallas,
                                                      TX, 8/6/05.
                                                      Faculty – Intense Learning Session – Autologous Fat Grafting fo Facial Rejuvenation – present 1) Volume and the
                                                      Aging Face, and 2) Periorbital Rejuvenation Using Fat; Fall Meeting – American Academy of Facial Plastic and
                                                      Reconstructive Surgery, Los Angeles, CA 9/23/05.
                                                      Faculty speaker – 1. New Technologies Session: The Pocket Protector (one hour presentation); 2. Space Lift (Fat
                                                      Graft) Blepharoplasty; 3. The Pocket Protector: A New Paradigm in Breast Augmentation – 157 Cases, 22nd
                                                      Annual Scienti c Meeting of the American Academy of Cosmetic Surgery, Orlando, Florida, 1/26 – 1/29/06.
                                                      Examiner – Oral Exams, American Board of Cosmetic Surgery Annual Board Examination, Chicago, IL, April 22,
                                                      2006.
                                                      Faculty – Personal Preferences for Breast Augmentation; Treatment of Capsular Contracture – The Pocket
                                                      Protector, American Society of Cosmetic Breast Surgery, May 5, 2006.
                                                      Invited Speaker – Facial Fat Grafting (Space Lift) video presentation; Combination Space Lift and Anterior Face
                                                      Lift; Double Columellar Strut, French Society of Aesthetic Surgery, Paris, France, May 19-20, 2006.
                                                      Faculty speaker – Facial Fat Grafting, video presentation American Society of Liposuction Surgery in conjunction
                                                      with Annual Scienti c Meeting of the American Academy of Cosmetic Surgery, Phoenix, AZ, January 24, 2007.
                                                      Faculty speaker – Facial Fat Grafting – two hour seminar (with Dr. Suzan Obagi) presented at the Annual Scienti c
                                                      Meeting of the AACS, Phoenix, AZ, January 27, 2007.
                                                      Examiner – Annual Oral Examination for American Board of Cosmetic Surgery, Chicago, IL, April 20, 2007.
                                                      Faculty – Varied Choices in Breast Augmentation, American Society of Cosmetic Breast Surgery, Newport Beach,
                                                      CA, May 4, 2007.
                                                      Faculty – Video Presentation – The Space Lift (Autologous Fat Transfer); Annual Meeting of the French Society of
                                                      Aesthetic Surgery, Paris, France, May 11-13, 2007.
                                                      Faculty speaker – Facial Fat Grafting – Repairing Iatrogenic Defects, American Society of Liposuction Surgery at
                                                      AACS Annual Meeting; What’s New in Breast Augmentation, American Academy of Cosmetic Surgery; Treating
                                                      Rippling Associated with Breast Augmentation, presented at Annual Scienti c Meeting of the American Academy
                                                      of Cosmetic Surgery, Orlando, FL, January 17 – 20, 2008.
                                                      Faculty speaker – The Art of Autologous Fat Transplantation – two hour seminar presented with Dr. Suzan Obagi
                                                      at the Annual Scienti c Meeting of the AACS, Orlando, FL Jan. 17, 2008.
                                                      Faculty speaker – Varied Choices in Breast Augmentation Surgery; Prevention and Treatment of Capsules,
                                                      Rippling and Deformities, American Society of Cosmetic Breast Surgery, Newport Beach, CA, May 2-3, 2008.
                                                      Faculty speaker – Facial Fat Grafting, Video Fat grafting Presentation – Aging Face Symposium; Periareolar
                                                      Breast Augmentation, What’s New in Breast Augmentation – Breast Augmentation Symposium; Liposuction

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http://stemcellrevolution.com/dt_team/mark-berman-md-facs-cv/                                                                                                                               4/8
8/29/2017                                                   Mark Berman,
                               Case 5:18-cv-01005-JGB-KK Document    48-4MD, FACS
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                                                      Complications – ASLSS Symposium; presented as part of the Annual Scienti c Meeting of the AACS, Phoenix, AZ,
                                                      Jan. 14, 2009.
                                                      Faculty speaker – Advanced Fat Grafting Techniques – two- hour seminar presented with Dr. Suzan Obagi at the
                                                      Annual Scienti c Meeting of the AACS, Phoenix, AZ, Jan. 17, 2009.
                                                      Faculty speaker – Prevention and Treatment of Capsules, Rippling and Deformities, American Society of Cosmetic
                                                      Breast Surgery, Newport Beach, CA, June 6, 2009.
                                                      Faculty speaker – 3 Dimensional Repair of the Aging Face – Annual Meeting of the California Academy of
                                                      Cosmetic Surgery, San Diego, CA, Oct. 25, 2009.
                                                      Invited Guest Speaker – Repairing Capsular Contracture – Special Presentation to the International Society of
                                                      Cosmetogynegology, Orlando, FL, Jan 26, 2010.
                                                      Faculty speaker – Facial Fat Grafting, Video Fat grafting Presentation – Aging Face Symposium; Periareolar
                                                      Breast Augmentation, What’s New in Breast Augmentation – Breast Augmentation Symposium;
                                                      Liposuction Complications – ASLSS Symposium presented as part of the 26th Annual Scienti c Meeting of the
                                                      AACS, Orlando, FL, Jan. 27, 2010.
                                                      Faculty speaker – Double Columellar Strut – paper presentation, 26th Annual Scienti c Meeting of the AACS,
                                                      Orlando, FL, Jan. 30, 2010.
                                                      Faculty speaker – Advanced Fat Grafting Techniques – two- hour seminar presented with Dr. Suzan Obagi at the
                                                      26th Annual Scienti c Meeting of the AACS, Phoenix, AZ, Jan. 29, 2010.
                                                      Delegation to Tokyo to visit with Dr. Tatsuro Kamakura and Kotaro Yoshimura, observe surgery and discuss latest
                                                      developments in fat grafting and stem cell preparation, Tokyo, Japan, April 1 – 3, 2010.
                                                      Faculty speaker – Liposuction Course, presented Liposuction Complications, Autologous Fat Transfer; New York,
                                                      NY, May 1-2, 2010.
                                                      Keynote speaker – 3 D Face Lift; Repairing Capsule Contracture – The Pocket Protector, French Society of
                                                      Aesthetic Surgery, Paris, France, May 11 – 12, 2010.
                                                      Invited Faculty Speaker – 3 D Face Lift, World Congress of Minimally Invasive Plastic Surgery, Korean Society of
                                                      Plastic Surgery, Seoul, South Korea, Sept. 11-12, 2010.
                                                      Faculty speaker – 3 D Face Lift; Stem Cell Space Lift (video presentation), World Congress of Liposuction,
                                                      American Academy of Cosmetic Surgery, Washington, DC, Oct. 1-3, 2010.
                                                      Featured Guest Speaker – 3 D Face Lift, Annual Meeting of the American Society of Ophthalmic Plastic and
                                                      Reconstructive Surgery, Chicago, IL, Oct. 13, 2010.
                                                      Faculty – Advanced Fat Grafting Techniques taught with Suzan Obagi, MD; 27th Annual Scienti c Meeting of the
                                                      AACS, Phoenix, AZ, Jan. 13, 2011.
                                                      Faculty – Stem Cell Advances and Current Use in Cosmetic Surgery with Kotaro Yoshimura, MD and Ziya Saylan,
                                                      MD; 27th Annual Scienti c Meeting of the AACS, Phoenix, AZ, Jan. 13, 2011.
                                                      Faculty – Stem Cell Advances and Current Use in Cosmetic Surgery with Kotaro Yoshimura, MD and Ziya Saylan,
                                                      MD; 27th Annual Scienti c Meeting of the AACS, Phoenix, AZ, Jan. 13, 2011.
                                                      Invited Guest Speaker – Double Columellar Strut: 3 D Face Lift; Pocket Protector for Repairing Capsule
                                                      Contracture, 15th Congress National – Moroccan Plastic Surgery Society, Casablanca, Morocco, March 25-26,
                                                      2011.
                                                      Faculty Speaker – Prevention and Treatment of Capsules, Rippling and Deformities, American Society of Cosmetic
                                                      Breast Surgery, Newport Beach, CA, April 29, 2011.
                                                      Invited Guest Speaker – 3D Face Lift – 95th Annual Clinical Assembly of the American Osteopathic Colleges of
                                                      Ophthalmology and Otolaryngology – Head and Neck Surgery Foundation, Tuscon, AZ, May 5, 2011.
                                                      Invited Guest Instructor – 3 hour presentation – U.S./Taiwan Stem Cell / Fat Graft Symposium, Taipei, Taiwan,
                                                      May 14, 2011.
                                                      Invited Guest Speaker – 3 D Face Lift; Space Lift – Repairing Iatrogenic Defects, 1st Congress – International Cell
                                                      Assisted Surgery, Istanbul, Turkey, May 28-29, 2011.
                                                      Faculty – 3D Face Lift, The Aesthetic Show, Las Vegas, NV, June 5, 2011.
                                                      Guest speaker – 3D Face Lift, The International Aesthetics, Cosmetics and Spa Association, Las Vegas, NV, June
                                                      17, 2011.
                                                      Faculty – 3D Face Lift, Vegas Cosmetic Meeting, Las Vegas, NV, June 25, 2011.
                                                      Invited Guest Speaker – The Pocket Protector, Stem Cell 101: Preliminary Experience, 3 D Face Lift, World
                                                      Academy of Cosmetic Surgery, Vienna, Austria, September 1-4, 2011.
                                                      Faculty – 3D Face Lift using the Adivive system, Palomar Medical,
                                                      Washington, DC, September 10, 2011.
                                                      Invited Guest Speaker – Stem Cell 101: Preliminary Experience; Repairing Iatrogenic Defects – the Space Lift; 3 D
                                                      Face Lift;
                                                      3rd World Congress of Minimally Invasive Plastic Surgery, Shanghai, China, September 24-25, 2011.
                                                      Faculty – 3D Face Lift using the Adivive System, Palomar Medical, Santa Monica, CA, October 15, 2011.
                                                      Invited Guest Speaker – 3D Face Lift (stem cell/fat grafting); Introducing the Lipo-Mini and Stem Cell 101, Taiwan
                                                      Academy of Facial Plastic and Reconstructive Surgery, Taipei, Taiwan, November 20, 2011.
                                                      Faculty – Preliminary Experience with Adipose Derived Stem Cells for Therapeutic Uses and Session Director for
                                                      Stem Cell Conference; Stem Cell Therapy in Practice: The Basics; Correction of Capsular Contracture and Other
                                                      Breast Deformities; Stem Cells in Facial Surgery; Facial Volume Enhancement with Fat and Stem Cell Transfer,
                                                      2012 Annual Scienti c Meeting of the American Academy of Cosmetic Surgery, Las Vegas, NV, January 18-21,
                                                      2012.
                                                      Invited Guest Speaker – 3D Face Lift (stem cell/fat grafting); Stem Cells in Facial Surgery; 2012 Oculoplastic
                                                      Conference, Austin, TX, March 23, 2012.
                                                      Faculty – Autologous Fat Transfer for Breast Surgery; Stem Cell Therapy; 2012 Spring Symposium, American
                                                      Academy of Cosmetic Surgery, Beaver Creek, CO, March 30 -31, 2012.
                                                      Featured Speaker – Frontier in Stem Cell Therapy; Fat Transfer; 2012 Aesthethic Show, Las Vegas, NV, April 12-15,
                                                      2012.
                                                      Faculty – Personal Preferences in Breast Augmentation and Repair; Stem Cell Therapy; 2012 American Society of
                                                      Cosmetic Breast Surgery, Newport Beach, CA, May 4, 2012.
                                                      Invited Guest Speaker – 3D Face Lift (stem cell/fat grafting); UCLA ; Jules Stein Occuloplastic Symposium, Los
                                                      Angeles, CA, June 16, 2012.
                                                      Invited Guest Speaker – 3 D Face Lift (using stem cell/fat grafting), The Double Columellar Strut: An Adjunct for
                                                      Tip-plasty; 4th World Congress of Minimally Invasive Plastic Surgery, Seoul, South Korea, September 1, 2012.
                                                      Faculty – Stem Cell 101: Preliminary Experiences with Adipose Derived Stromal Vascular Fraction, California
                                                      Academy of Cosmetic Surgery Annual Meeting, Coronado, CA, November 3, 2012.
                                                      Chairman – Stem Cell Session, All Day Pre-Conference meeting of the Annual Scienti c Meeting of the American
                                                      Academy of Cosmetic Surgery, Las Vegas, January 16, 2013.
                                                      Faculty – Cosmetics to Therapeutics, Why the Transition? (talk about experience with adipose derived stem cells);
                                                      Repairing Capsular Contracture following Breast Augmentation – using an e-PTFE Designed Bladder, Annual
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http://stemcellrevolution.com/dt_team/mark-berman-md-facs-cv/                                                                                                                               5/8
8/29/2017                                                   Mark Berman,
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                                                      Scienti c Meeting of the American Academy of Cosmetic Surgery, Las Vegas, January 16-19, 2013.
                                                      Instructional Course in Hong Kong – Stromal Vascular Fraction and clinical preparation, Hong Kong, January 25-
                                                      26, 2013.
                                                      Cell Surgical Network – Training Session #5, Rancho Mirage, CA Feb. 8-9, 2013.
                                                      Invited Guest Speaker – The Transition from Cosmetic to Therapeutic: Clinical Applications of Stromal Vascular
                                                      Fraction; The Politics of Stem Cells and the Evolution of the Cell Surgical Network; FATS, Bangkok, Thailand,
                                                      March 30, 2013.
                                                      Faculty – Repairing Capsular Contracture; Repairing Rippling; The Magic of Fat: From Aesthetics to Therapeutics;
                                                      Repairing Body Contour Defects, American Academy of Cosmetic Surgery – Breast and Body Contouring, St.
                                                      Louis, MO, April 18-20, 2013.
                                                      Invited Guest Speaker – From Cosmetics to Therapeutics: Establishing a Compliant Regenerative Medicine
                                                      Program, Clinical Translation of Stem Cells Summit, Bio-Sciences, Rancho Mirage, CA April 22, 2013.
                                                      Invited Guest Speaker – 3 D Stem Cell / Fat Transfer, Palomar Medical Symposium, Boca Raton, FL, April 27, 2013.
                                                      Faculty – Cell Surgical Network, Training Session #6 Rancho Mirage, CA, May 3-4, 2013.
                                                      Invited Guest Speaker – Stromal Vascular Fraction – From Cosmetics to Therapeutics; The Politics of Stem Cells
                                                      and Cell Surgical Network, Seoul, South Korea, May 12, 2013.
                                                      Faculty – Personal Preferences in Breast Augmentation and Repair; Stem Cell Therapy: Transition from Cosmetic
                                                      to Therapeutic; 2013 American Society of Cosmetic Breast Surgery, Newport Beach, CA, May 3, 2013.
                                                      Invited Guest Speaker – The Magic of Fat: The Transition from Cosmetic to Therapeutic; Korean Society of Plastic
                                                      Surgery; Seoul, South Korea, May 12, 2013.
                                                      Invited Speaker and Chairman of Regenerative Cell Therapy Session; Adipose Derived Stromal Vascular Fraction;
                                                      2013 Aesthethic Show, Las Vegas, NV, May 16-18, 2013.
                                                      Featured Guest Speaker – 3D Stem Cell / Fat Graft for Facial Rejuvenation; The Magic of Fat: The Transition from
                                                      Cosmetic To Therapeutic; Expert Breast Panel; The 101 Annual Japan Society of Aesthetic Surgery, Tokyo, Japan,
                                                      June 15, 2013.
                                                      Featured Invited Guest Speaker – 3D Stem Cell / Fat Graft for Facial Rejuvenation; The Magic of Fat: The
                                                      Transition from Cosmetic to Therapeutic; The Pocket Protector for Repair of Capsular Contracture; International
                                                      Workshop in South America focused on Ambulatory Cosmetic Surgery; Universidad Nacional de Noreste, World
                                                      Academy of Cosmetic Surgery, and Asociacion Argentina de Medicina y Cirujia Cosmetica, Buenos Aires,
                                                      Argentina, July 4-6, 2013.
                                                      Book Chapter – The Double Columellar Strut: An Adjunct to Improve the Nasal Tip, Advanced Aesthetic
                                                      Rhinoplasty, Editors – Shiffman, DiGiuseppe, Springer, 2013.
                                                      Invited Guest Speaker – Discussion of the Therapeutic Use of Autologous Adipose Stromal Vascular Fraction,
                                                      organized by Dr. Z Teo and Dr. Aivee Aguilar-Teo, presented to journalists and invited guests at the Manila
                                                      Peninsula; live teaching instruction at their o ce later that day, Manila, Philippines, August 19, 2013
                                                      Invited Guest Speaker – The Magic of Fat – For Therapeutic Advantage; The Politics of Stem Cells (and FDA
                                                      Issues), presented on consecutive days to journalists and invited guests at the o ces of Dr. Enrina Diah, and the
                                                      next day to invited doctors at a conference held on the campus of ProStem Laboratories, Jakarta, Indonesia,
                                                      August 21,22, 2013.
                                                      Faculty Speaker and moderator – Adipose Derived Stromal Vascular Fraction; World Congress on Liposuction and
                                                      Body Contouring; New York, NY, October 4, 2013.
                                                      Book Chapter – Peri-orbital Fat Grafting – The 3 D Lift, Chapter 7; Non-Surgical Peri-orbital Rejuvenation, Myint,
                                                      Shoib, editor, Springer, 2013.
                                                      Invited Guest Speaker – The Magic of Fat – From Cosmetics to Therapeutics, Why the Transition?, American
                                                      College of Advancement of Medicine Annual Meeting, Rancho Mirage, CA November 20, 2013.
                                                      Invited Guest Speaker – The 3D Stem Cell Fat Graft; The Magic of Fat: From Cosmetic to Therapeutic; The Double
                                                      Collumellar Strut; Video Presentation of 3D Stem Cell Fat Graft; Live surgical demonstration of 3D Stem Cell Fat
                                                      Grafting; – Middle East Congress for the ICAAM, Dubai, UAE, December 6-8, 2013
                                                      Chairman – Stem Cell Session, All Day Pre-Conference meeting of the Annual Scienti c Meeting of the American
                                                      Academy of Cosmetic Surgery, Hollywood, FL, January 14, 2014.
                                                      Faculty – Cosmetics to Therapeutics, Why the Transition? (talk about experience with adipose derived stem cells);
                                                      Politics of Stem Cells: FDA Issues; Annual Scienti c Meeting of the AACS, Hollywood, FL, January 14, 16, 2014.
                                                      Invited Guest Speaker – Fat Grafting in the Periocular Area (video presentation); The Double Columellar Strut
                                                      (Rhinoplasty); The Magic of Fat: From Aesthetics to Therapeutics; 3D Facial Rejuvenation; AMWC 2014 – 12th
                                                      Anti-Aging Medicine World Congress – Monte Carlo, Monaco, April 2-5, 2014.
                                                      Invited Guest Speaker – Clinical Applications of Stromal Vascular Fraction – Safety and Function of the Cell
                                                      Surgical Network; The Politics of Stem Cells and the Evolution of the Cell Surgical Network; FATS, Bangkok,
                                                      Thailand, April 18, 2014.

                                                      Invited Guest Speaker – Adipose Derived Stromal Vascular Fraction and the FDA: The Cell Surgical Network
                                                      Position, Clinical Translation of Stem Cells Summit, Bio-Sciences, Palm Desert, CA April 21, 2014.
                                                      Faculty – Personal Preferences in Breast Augmentation and Repair; Stem Cell Therapy: Transition from Cosmetic
                                                      to Therapeutic; 2013 American Society of Cosmetic Breast Surgery, Newport Beach, CA, May 2, 2014.
                                                      Featured Guest Speaker – The current situation of ADSC in the USA; The ADSC treatments and the results
                                                      obtained by CSN; The 102 Annual Japan Society of Aesthetic Surgery, Tokyo, Japan, June 7, 2014.
                                                      Invited Guest Speaker – Adipose Stem Cell Therapy for Your Patients – The Evolution of Cell Surgical Network;
                                                      The 7th World Medical Tourism and Global Healthcare; Washington, DC, September, 2014
                                                      Invited Featured Speaker – North American Summit on Fat Grafting 2014, Workshop presentation: 3D Stem Cell /
                                                      Fat Grafting; Video Presentation of 3D Stem Cell / Fat Grafting; Complications of 3D Stem Cell / Fat Grafting;
                                                      Evolution to Therapeutic Stem Cell Deployment; Las Vegas, November 8, 2014.
                                                      Chairman – Stem Cell Session, Master’s Session, All Day Conference meeting of the Annual Scienti c Meeting of
                                                      the American Academy of Cosmetic Surgery, New Orleans, LA, January 15, 2015.
                                                      Faculty – 2015 – Politics of Stem Cells: FDA Issues; Annual Scienti c
                                                      Meeting of the AACS, New Orleans, LA, January 15, 2015.
                                                      Faculty – Instructional Course; 3D Stem Cell Fat Graft – powerpoint and video presentations, 1 ½ hour morning
                                                      session, Annual Scienti c Meeting of the AACS, New Orleans, LA, January 15, 2015.
                                                      Keynote Speaker – Cell Surgical Network’s Approach to Point-of-Care Deployment in Surgical Regenerative
                                                      Medicine, Meeting for Select Biosciences, Boston, MA, February 9, 2015.
                                                      Faculty – Personal Preferences in Breast Augmentation and Repair; Stem Cell Therapy: Transition from Cosmetic
                                                      to Therapeutic; 2013 American Society of Cosmetic Breast Surgery, Newport Beach, CA, May 1, 2015.
                                                      Speaker and Section Chairman – The Art of Fat Grafting – A Global Perspective – Advantages for Aesthetic and
                                                      Reconstructive Surgery; From Aesthetics to Therapeutics: Fat transfer and stem Cells; Fat Grafting Southeast Asia
                                                      Summit 2015; Singapore, May 9, 2015.

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8/29/2017                                                   Mark Berman,
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                                                      Guest Speaker – Controlled Studies with Stromal Vascular Fraction – From Aesthetics to Therapeutics, Annual
                                                      Meeting of the Academy of Regenerative Practices, Ft. Lauderdale, FL, June 5-6, 2015.

                                                    Media appearances:

                                                      Channel 9 News – L.A. – “Computer Imaging” – March 1986
                                                      Channel 52 Mundo Latino – “Computer Imaging and Cosmetic Surgery” – interview in Spanish – March 1986
                                                      ABC Home Show – “Computer Imaging and Cosmetic Surgery” – live patient demonstration (surgery
                                                      subsequently performed after interview) – March 1988
                                                      Hour Magazine with Gary Collins – “Fat Grafting and Computer Imaging Demonstration” – November 1988
                                                      ABC Home Show – “Fat Grafting in Cosmetic Surgery” – pre-taped surgical demonstration with follow-up in studio
                                                      interview – March 1989
                                                      Cara a Cara – Spanish television show – channel 52 – invited guest speaker to demonstrate and speak about
                                                      liposuction and cellulite – 10/90
                                                      Channel 9 News – L.A. – 2/91 cosmetic surgery interview
                                                      ABC Home Show – live demonstration of face-lift, blepharoplasty, facial fat grafting, and chemical peel with in-
                                                      studio follow-up interview with patient – 3/13, 3/16, and 3/31/92.
                                                      The Vicki Show – demonstration of liposuction surgery (taped) with in studio interview, discussion, and questions
                                                      from audience – October 20, 1994
                                                      The Marilyn Kagan Show – psychology of appearance – interview, discussion, questions from audience – (taped
                                                      5/95) aired July 12, 1995
                                                      Leeza – demonstration of Gore-Tex™ implants for lip enhancement with interview and panel discussions – taped
                                                      5/31/96
                                                      The Bradshaw Difference – discussed the silicone breast implant controversy 11/8/96
                                                      Good Day, L.A. – demonstrated Gore-Tex™ implant for lip enhancement, live, 11/24/96
                                                      Channel 34 – Spanish News Program – discussion of liposuction 3/97 Spanish interview (several interviews in 97
                                                      and 98)
                                                      Home and Family – computer imaging demonstration and discussion of facial aging, corrections with fat
                                                      transplants and Gore- Tex™, 3/25/97
                                                      Caryl and Marilyn Show – guest discussing liposuction surgery – 5/2/97
                                                      Good Day L.A. – channel 11 – discussed breast augmentation and performed live breast augmentation operation
                                                      at o ce via remote satellite feed, 8/7/97
                                                      Inside Edition – interview re: teen cosmetic surgery – 9/12/97
                                                      Hard Copy – interview re: body lifting procedures – TBA
                                                      The Live Show – KTLA interview re: aging face, fat grafting – 1/98
                                                      The Live Show – KTLA interview re: cosmetic surgery, 3/98
                                                      The Live Show – interview re: liposuction performed on Stephanie Edwards, show’s host, 6/5/98 by me. On 6/8/98
                                                      in-studio interview to discuss the procedure.
                                                      National Enquirer – Nov. 98 – ran a positive article about the virtues of fat injections to reverse the appearance of
                                                      the aging face.
                                                      Leeza – discussed aspects of breast surgery – 2/3/99.
                                                      Jenny Jones Show – performed and discussed liposuction as part of a cosmetic make-over show – 4/29/99.
                                                      Fox News – feature on volume restoration (via fat grafting) of the aging face, 11/30/99.
                                                      National Enquirer TV Show – discussing liposuction safety KABC Radio – Stephanie Miller Show – discussing
                                                      cosmetic surgery 2/10/00
                                                      In Style – small article re: volume restoration for aging face, 6/00. Cosmetic Surgery magazine – featured in
                                                      article – “Restoring Youth – Fat Grafting” by Jodi Thiessen, Aug, 2001.
                                                      KCOP – television interview about Breast Surgery, Appearance and Psychology, May 2002.
                                                      KCOP/Fox News – interview regarding Space Lift (volume restoration for aging face – Novemeber 2002.
                                                      KMIR Palm Desert Channel 4 (NBC a liate) – Live News interview Regarding the Pocket Protector; 9/30/03.
                                                      Several News programs around US featuring the Pocket Protector, Feb and March 2004.
                                                      The Wellness Hour – Half-hour discussions about the Pocket Protector and breast surgery ( lmed in 3/03, and
                                                      7/04).
                                                      Fox News at 10, “Discussing Facial Fat Grafting,” Oct. 25, 2004
                                                      KTLA News, Interview with Marta Waller re: The Pocket Protector 3/05.
                                                      W Magazine – featured in article about breast surgery – April 2005
                                                      Cosmetic Surgery Times – Featured in two articles – New Technologies In Cosmetic Surgery; Pocket Protector,
                                                      April 2006
                                                      Cosmetic Surgery Times – Featured in one article – Blepharoplasty Performed by Fat Grafting (the Space Lift),
                                                      May 2006
                                                      Invited Speaker – Association of Health Care Journalists, Studio City, CA, March 17, 2007.
                                                      Fox News at 10, Repairing Breasts – The Pocket Protector, 7/7/08.
                                                      Media Tour for the American Academy of Cosmetic Surgery as President of the AACS – Procedural Survey results
                                                      – via studios in New York City – 18 TV and 7 radio interviews, March 9, 2010.
                                                      Midday Sunday with Tony Valdez, Fox 11 News, Discussing Stem Cells and Cosmetic Surgery, 4/11/10.
                                                      Fox News at 10, Discussing Medical Tourism Abroad, 10/7/10.
                                                      Fox News – Filmed and discussed Fat grafts and Stem Cell issue for facial rejuvenation, 7/25/11.
                                                      Good Morning Philippines with Karen Davila – special guest appearing
                                                      to discuss adipose derived stem cell issues, 8/19/13.
                                                      Fox News – Adipose derived stem cells – discussion of Cell Surgical Network progress, November 17, 2013
                                                      CBS News – Story about how adipose derived stromal vascular fraction was used to reverse blindness in patient
                                                      with optic neuritis, May 14, 2014
                                                      The Doctors TV Show – featured story about SVF therapy for optic neuritis patient, Oct. 3, 2014
                                                      The Doctors TV Show – featured interview – Stem Cells Hope vs. Hype, January 22, 2015
                                                      Associated Press – multiple articles and video re: Cell Surgical Network, appearing in multiple newspapers and
                                                      online venues, May 19-20, 2015.
                                                      Popular Science article – The Cure, by Tyler Graham, June, 2015.




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                                                        California                                                                                                                                                  Home / Treatment Centers / California




                                                            California Stem Cell Treatment Center: Founding Physician Team
                                                            Los Angeles Stem Cell Institute
                                                                                                                                                                                                                   USA Candidate Application
                                                            Newport Beach Stem Cell Treatment Center
                                                            Northern California Stem Cell Treatment Center
                                                                                                                                                                                                                   International Candidate Application
                                                            Orange County Regenerative Medicine
                                                            Visalia Stem Cell Treatment Center
                                                                                                                                                                                                                   Founders
                                                            San Diego Stem Cell Treatment Center
                                                            San Francisco Stem Ce l Treatment Center
                                                                                                                                                                                                                   Cell Banking
                                                            SF Bay Area Stem Cell Treatment Center
                                                            Silicon Va ley Stem Cell Treatment Center
                                                                                                                                                                                                                   Physicians Interested in Joining
                                                            Ventura Stem Cell Treatment Center                                                                                                                     the Network
                                                            Northern California Regenerative Cell Treatment Center
                                                            Life Lift Stem Cell Treatment Center                                                                                                                   Events
                                                            OC Wellness Rejuvenation and Stem Cell Center
                                                            Santa Rosa Stem Cell Treatment Center                                                                                                                  Videos
                                                            Regenerative Medicine Specialists
                                                            Vitality Stem Cell Treatment Center of Palm Desert                                                                                                     CSN Publications
                                                            Golden Gate Stem Cell Treatment Center
                                                            Innova Medical
                                                            La Quinta Stem Cell Treatment Center
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                                                            One Health Medical & Surgical Center, INC.
                                                            Previ Medical Stem Cell Treatment Center                                                                                                              Frequently Asked Questions
                                                            Stem Cell Institute of Los Angeles
                                                            Royal Medical Aesthetic Group
                                                                                                                                                                                                                  What is a stem cell?
                                                            Central Valley Stem Cell Treatment Center
                                                                                                                                                                                                                  How do adult stem cells heal?
                                                            East Bay Stem Cell Center
                                                                                                                                                                                                                  How is the fat obtained?
                                                                                                                                                                                                                  More FAQs...



                                                                                                                                                                                                                  Stem Cells and the FDA
                                                        California Stem Cell Treatment Center: Founding Physician Team                                                                                            Stem cell treatment is not approved by
                                                                                                                                                                                   Candidate Application
                                                        72780 Country Club Drive, Building C, Suite 301 | Rancho Mirage, CA 92270-4150
                                                                                                                                                                                                                  the FDA for any speci c disease
                                                        (760) 346-0145 or (800) 231-0407
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                                                         Elliot B. Lander, MD,      Mark Berman, MD,         Jonathan S. Braslow,        Jackie R. See, MD,      John Feller, MD      Thomas J. Grogan, MD
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                                                         Roland Reinhart, MD,       Christopher Duma,         Walter O’Brien, MD         David Milstein, MD
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                                                          Howard Rubin, MP,       Jon Barry Green eld,
                                                            PhD, ABMP                     MD

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                                                        Newport Beach Stem Cell Treatment Center
                                                                                                                                                                                 Candidate Application
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                                                          Michael Elam, MD        Julian Whitaker, MD

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                                                        Northern California Stem Cell Treatment Center
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                                                        2644 Edith Avenue | Redding, CA 96001 | (530) 276-0376 | www.norcalstemce l.com




                                                        Andrew Solkovits, DO      Tony Chang, MD, MS          Bob Ghe , MD         Theodore E. Workman,     Zachary J. Lipman, MD     Richard Cross, MD
                                                              FAAFP                                                                        MD
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                                                           William Bradley         Jack Schillen, MD         Farzad Sabet, MD       Leonard Soloniuk, MD     Paul Schwartz, MD         John Lange, MD
                                                           Heyerman, M.D.
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                                                        Orange County Regenerative Medicine
                                                                                                                                                                                 Candidate Application
                                                        4501 Birch Street | Newport Beach, CA 92660 | (949) 395-4304 | www.ocregenerativemedicine.com




                                                        Visalia Stem Cell Treatment Center
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                                                        210 S. Johnson Street | Visalia, CA 93292 | (559) 740-7676 | www.cosmeticsurgerybykhademi.com/stem-cell-
                                                        treatment/                                                                                                     Candidate Application




                                                        San Diego Stem Cell Treatment Center
                                                                                                                                                                       Candidate Application
                                                        4910 Directors Place, Suite 360 | San Diego, CA 92121 | Phone: (888) 497-8833 | Fax: (858) 453-7314
                                                        | www.stemsd.com




                                                        San Francisco Stem Cell Treatment Center
                                                                                                                                                                       Candidate Application
                                                        1700 Ca ifornia Street | Suite 520 | San Francisco, CA 94109 | (415) 345-0099 | www.sfstemcellcenter.com




                                                        Silicon Valley Stem Cell Treatment Center
                                                                                                                                                                       Candidate Application
                                                        10050 Bubb Rd Suite 2 | Cupertino, CA 95014 | (408) 996-2550 | www.svstemcell.com




                                                        Ventura Stem Cell Treatment Center
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                                                        1889 North Rice Ave #201 | Oxnard, CA 93030 | (805) 485-3888 | Fax: (805) 485-5810 | www.venturastemcell.com




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                                                        Northern California Regenerative Cell Treatment Center
                                                                                                                                                                         Candidate Application
                                                        2485 Hosp tal Drive, Suite 221 | Mountain View, CA 94040 | (800) 733-2239 | www.stemcell.baymedcenter com




                                                        Life Lift Stem Cell Treatment Center
                                                                                                                                                                         Candidate Application
                                                        400 Newport Center Drive | Suite 100 | Newport Beach, CA 92660 | (949) 644-1641 | www.pelvicpro.net




                                                        OC Wellness Rejuvenation and Stem Cell Center
                                                                                                                                                                         Candidate Application
                                                        2171 Campus Drive | Suite #120 | Irvine, CA 92612 | (949) 222-0232 | www.ocwellnessstemcell.com




                                                        Santa Rosa Stem Cell Treatment Center
                                                                                                                                                                         Candidate Application
                                                        1701 4th Street | Su te 200 | Santa Rosa, CA 95404 | (707) 544-3232 | www.drchernoff.com/investigational-stem-
                                                        cell-treatment-using-adult-stromal-vascular-fraction-svf




                                                        Regenerative Medicine Specialists
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                                                        1100 Paseo Camarillo | Camarillo, CA 93010 | (805) 585-5004 | www regendoctor.com




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                                                        Vitality Stem Cell Treatment Center of Palm Desert
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                                                        44200 Monterey Ave | Palm Desert, CA 92260 | (760) 674-2070




                                                        SF Bay Area Stem Cell Treatment Center
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                                                        Golden Gate Stem Cell Treatment Center
                                                                                                                                                                  Candidate Application
                                                        2100 Webster Street, Su te 309 | San Francisco, CA 94115 | Local: (415) 923-3028 | www.ggstemcell.com |
                                                        info@ggstemce l.com




                                                        Innova Medical
                                                                                                                                                                  Candidate Application
                                                        416 North Bedford Drive, Su te 200 | Beverly Hills, CA 92210 | Local: (310) 999-1003 | Info@rhmd.com




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                                                        La Quinta Stem Cell Treatment Center
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                                                        47020 Washington Street | La Quinta, CA 92253 | Local: (760) 777-8377 |
                                                        www.desertpainrelief.com | info@desertmedicalcare.com




                                                        OC Advanced Stem Cell Treatment Center
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                                                        150 Avenida Cabrillo, Suite A | San Clemente, CA 92672 | (949) 369-6993 | www.ocstemcells.com




                                                        West LA Medical & Skincare Stem Cell Center
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                                                        11111 W. Olympic Blvd, Su te 401 | Los Angeles, CA 90064 | (310) 473-1734 | www.westlaskincare.com




                                                        Bios Functional and Stem Cell Medicine
                                                                                                                                                             Candidate Application
                                                        2001 Santa Monica Blvd, Suite 1190 | Santa Monica, CA 90404 | (310) 955-1885 |
                                                        www.biosfunctionalmedicine.com




                                                        AmpliCell Medical
                                                                                                                                                             Candidate Application
                                                        (323) 205-6871




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                                                        American Stem Cell Group
                                                                                                                                                          Candidate Application
                                                        1810 Fullerton Ave Suite 104 | Corona, CA 92881 | Phone: 951-734-7246 | Fax: 951-674-7244
                                                        www.americanspinegroup.com | www.americanstemcellgroup.com




                                                        One Health Medical & Surgical Center, INC.
                                                                                                                                                          Candidate Application
                                                        425 Old Newport Blvd., Suite A | Newport Beach, CA 92663 | Phone: (949) 438-2476 |
                                                        www.onehealthmsc.com/meet and-contact-us




                                                        Previ Medical Stem Cell Treatment Center
                                                                                                                                                          Candidate Application
                                                        1776 Ygnacio Valley Road, Suite 204 | Walnut Creek, CA 94598 | (925) 691-7546 | www.previmd.com




                                                        Stem Cell Institute of Los Angeles
                                                                                                                                                          Candidate Application
                                                        16055 Ventura Blvd. #120 | Encino, CA 91436 | (818) 386-5575 | www.drstemcell.com




                                                        Royal Medical Aesthetic Group
                                                                                                                                                          Candidate Application
                                                        316 E. Las Tunas Dr. #205 | San Gabriel, CA 91776 | (626) 286-6168




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                                                        Central Valley Stem Cell Treatment Center
                                                                                                                                                                                                   Candidate Application
                                                        1329 Spanos Court Suite A-1 | Modesto, CA 95350 | (209) 577-5700




                                                        East Bay Stem Cell Center
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                                                    Auto-Immune Diseases                           Ophthalmology

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                                                About the ICSS
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                                                The International Cell Surgical Society (ICSS) is US-based non-pro t dedicated to providing physician education,
                                                training and standards for the practice of cell-based medicine. The goal of the ICSS is to advance the eld of                                                                             International Candidate Application
                                                regenerative medicine by promoting transparency, oversight and patient safety .
                                                                                                                                                                                                                                          Founders
                                                As a Professional Medical Association, the ICSS represents Physicians from all over the who who share a mission to
                                                provide Scienti cally Credible and Medically Appropriate Point-Of-Care Treatments to Informed Patients.                                                                                   Cell Banking

                                                The ICSS serves the regenerative medical community through:                                                                                                                               Physicians Interested in Joining
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                                                   Standards for the Practice of Cell Based Medicine
                                                   Oversight by its HHS approved Institutional Review Board                                                                                                                               Events
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                                                Cells On Ice in collaboration with their technology partner American CryoStem has been established to provide state
                                                of the art cryobanking to any patient having a liposuction for either therapeutic (SVF deployment for IRB approved                                                                        USA Candidate Application
                                                conditions) or cosmetic reasons. A small volume of fat can be preserved as stromal Vascular Fraction (or as
                                                expanded stem cells in the near future) and it will remain frozen inde nitely in an FDA registered facility. This enables                                                                 International Candidate Application
                                                a person to receive their own autologous stem cells back for future deployments at any time in the future should the
                                                medical need arise. Other patients may want to use their own cells in the near future as part of a sequential repeat                                                                      Founders
                                                treatment for various conditions where one treatment is inadequate. Many patients will want to have cells available
                                                on a moment’s notice if they had an accident or stroke or heart attack. Some of these cells could even be used for                                                                        Cell Banking
                                                cancer therapies or age mitigation strategies (“Cell Renewal Therapy”). The cost of this “Bio-Insurance” is $2500 to
                                                process and then $240 per year to maintain the bank of stem cells. Having your own personal stem cells available                                                                          Physicians Interested in Joining
                                                for medical immediate use at any time in your life is a valuable medical asset. For more information, call 855-204-                                                                       the Network
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